   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 1 of 44 PageID #:4461




                        THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 BERNADETTE WILLIAMS, et al., on behalf of              )
 themselves and all others similarly situated,          )
                                                        )       No. 22 C 1422
                         Plaintiffs,                    )
         v.                                             )       Judge Virginia M. Kendall
                                                        )
 STATE FARM MUTUAL AUTOMOBILE                           )
 INSURANCE COMPANY,                                     )
                                                        )
                         Defendant.                     )

                           MEMORANDUM OPINION AND ORDER

        Plaintiffs are insureds from thirty-two states who totaled their vehicles and then made

claims under their insurance policies from State Farm Mutual Automobile Insurance Company. In

calculating the actual cash value of Plaintiffs’ vehicles, State Farm applied a “typical-negotiation

adjustment,” which reduced Plaintiffs’ total-loss payments. In this putative nationwide class

action, Plaintiffs allege State Farm’s use of the typical-negotiation adjustment was a fraudulent

scheme and a breach of their insurance policies. They bring common-law and statutory claims

under the laws of forty-seven states and the District of Columbia. State Farm moves: (1) to dismiss,

transfer, or stay the claims of ten Plaintiffs in favor of earlier-filed cases in other districts; (2) to

compel appraisal of fourteen plaintiffs’ claims, or alternatively, dismiss or grant summary

judgment on those claims; and (3) to dismiss “headless” claims—meaning, claims under the laws

of states where none of the named Plaintiffs resides. (Dkts. 62, 65, 69). State Farm’s motion to

transfer [62] is granted in part as to six Plaintiffs; the first motion is otherwise denied. State Farm’s

motion to compel appraisal, dismiss, or grant summary judgment [65] is denied. State Farm’s

motion to dismiss “headless” claims [69] is also denied.




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   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 2 of 44 PageID #:4462




                                               BACKGROUND

        A.       Factual Background

        Plaintiffs, citizens of thirty-two states, are thirty-three insureds under State Farm uniform

automobile insurance policies who submitted claims after totaling their vehicles. (Dkt. 58 ¶¶ 12–

44). 1 State Farm’s drafted its form insurance policies in Illinois, where it has its headquarters. (Id.

at ¶ 62). Under the policies, when repair of an insured vehicle is impossible or uneconomical—

rendering it a “total loss”—State Farm may settle the claim by paying the insured the actual cash

value of the vehicle. (Id. at ¶ 2; see also Dkt. 58-1). To determine the actual cash values of

Plaintiffs’ vehicles, State Farm used Autosource Market-Driven Valuation, a system which

aggregated prices from online sales and listings of comparable vehicles. (Dkt. 58 ¶ 51; see also

Dkt. 58-3). Audatex, a Texas-based third-party vendor provided Autosource to State Farm. (Dkt.

58 ¶¶ 51, 55; Dkt. 63 at 9). At State Farm’s directive, Autosource applied a “typical-negotiation”

adjustment to the market-value price to decide its total-loss payments—an adjustment reflecting

the average difference between the list price and a lower theoretical price that a dealer would

accept. (Dkt. 58 ¶¶ 51–52). Actual negotiations did not factor into the typical-negotiation

adjustment. (Id. at ¶ 53). Nor did State Farm consult with any dealers or consider that “no-haggle”

pricing predominates in the used-car market, especially online. (Id.) At the time State Farm

determined the actual cash values of Plaintiffs’ vehicles, due to car-parts supply-chain issues

during the COVID-19 pandemic, used cars often sold at or above list prices. (Id.)


        1
          Plaintiffs (and their states of citizenship) are Bernadette Williams (Alabama); Rick McConnell (Arkansas);
Ivan Serrata Reyes (Connecticut); Rosilyn Wilson (Delaware); Linda Lewis (Florida); Latasha Huff (Georgia);
Haunanimae Cervantes-White (Hawaii); Maria Munoz (Illinois); Tracy Obrien (Iowa); Kimberly Benson (Kansas);
Roy Tuinstra (Kentucky); Evelyn Brown (Louisiana); Michelle Snyder (Maryland); Patricia Couch (Michigan);
Sabrina Capers (Minnesota); William Ross Dean (Mississippi); Richard Dacheff (Missouri); Kristy Keller (Nebraska);
Jasimen Hernandez (Nevada); Edgar Florian (New Hampshire); Michael Grossberg (New Jersey); Merrill Love (New
Mexico); Diane Newkirk (New York); Sandra Smiling (North Carolina); Shaun Robert (Ohio); Davey Johnston
(Oklahoma); Cynthia Roemer (Oregon); Roque Espinoza (Pennsylvania); Jennifer Payne (South Carolina); Latishia
Bowden (Tennessee); DJ Neill (Texas); Tyson Dewsnup (Utah); Deirdre Palmer (Utah). (Id.)

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   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 3 of 44 PageID #:4463




         Nonetheless, in calculating Plaintiffs’ vehicles’ actual cash values, the typical-negotiation

adjustment took 4–11% off the prices of comparable vehicles—in turn, reducing the total-loss

payments Plaintiffs received. (Id. at ¶¶ 12–44, 53–55). To determine the value of Brown’s car, for

example, State Farm applied a 4–6% typical-negotiation adjustment to four comparable vehicles.

(Id. at ¶ 23; Dkt. 58-3 at 118–19). Starting with the comparable vehicles’ advertised prices of

$16,995, $14,991, $15,990, and $14,718, State Farm adjusted “to account for differences in vehicle

description” and then reduced by 4–6% to reflect “typical negotiation.” (Dkt. 58-3 at 118–23).

State Farm further reduced the comparable vehicles’ adjusted values ($16,295, $14,752, $15,851,

and $14,495) for differences in mileage to reach their “final market values” ($13,955, $13,497,

$13,811, and $13,235). (Id. at 118–19). Averaging the final market values, State Farm calculated

the “condition adjusted market value” of Brown’s car—$13,625. (Dkt. 58 ¶ 23; Dkt. 58-3 at 119).

Adding Louisiana sales tax and subtracting a deductible, the final “net adjusted value” of Brown’s

car was $13,878.50. (Dkt. 58-3 at 119). 2 For comparison, the National Automobile Dealers

Association (NADA) Fully Adjusted Value of Brown’s car was $14,675. (Dkt. 58-3 at 124).

         State Farm did not tell insureds about the typical-negotiation adjustment before they bought

their policies. (Dkt. 58 ¶ 52). Instead, when State Farm offered total-loss payments to Plaintiffs, it

provided a valuation report showing that, for each comparable vehicle that Autosource factored

into the average market price, the “advertised price . . . was adjusted to account for typical

negotiation.” (Dkt. 58-3; e.g., id. at 17–18). The report noted further: “[t]he selling price may be

substantially less than the asking price,” and “[w]hen indicated, the asking price has been adjusted




         2
           Plaintiffs allege State Farm paid Brown $13,955, (Dkt. 58 ¶ 23), but the valuation report, which Plaintiffs
attached as an exhibit, indicates Brown’s car’s net-adjusted value was $13,878.50. (Dkt. 58-3 at 118). The exhibit
controls. See Bogie v. Rosenberg, 705 F.3d 603, 609 (7th Cir. 2013) (“When an exhibit incontrovertibly contradicts
the allegations in the complaint, the exhibit ordinarily controls, even when considering a motion to dismiss.”).

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   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 4 of 44 PageID #:4464




to account for typical negotiation.” according to each comparables [sic] price.” (Dkt. 58 ¶ 52; e.g.,

Dkt. 58-3 at 5).

       Some Plaintiffs’ policies include an appraisal clause like the following:

       The owner of the covered vehicle and we must agree upon the actual cash value of
       the covered vehicle. If there is disagreement as to the actual cash value of the
       covered vehicle, then the disagreement will be resolved by appraisal upon written
       request of the owner or us, using the following appraisal procedures:

       (a) The owner and we will each select a competent appraiser.

       (b) The two appraisers will select a third competent appraiser. If they are unable to
           agree on a third appraiser within 30 days, then either the owner or we may
           petition a court that has jurisdiction to select the third appraiser.

       (c) Each party will pay the cost of its own appraiser, attorneys, and expert witnesses
           as well as any other expenses incurred by that party. Both parties will share
           equally the cost of the third appraiser.

       (d) The appraisers shall only determine the actual cash value of the covered vehicle.
           Appraisers shall have no authority to decide any other questions of fact, decide
           any questions of law, or conduct appraisal on a class-wide or class-
           representative basis.

       (e) A written appraisal that is both agreed upon by and signed by any two
           appraisers, and that also contains an explanation of how they arrived at their
           appraisal, will be binding on the owner of the covered vehicle and us.

(Dkt. 58 ¶¶ 1, 6; Dkt. 58-1 at 12, 153–54, 197, 272–73, 317, 362, 394, 457–58, 534–35, 623, 668–

69, 708, 754, 785–86).

       Plaintiffs’ policies also provide: “Legal action may not be brought against us until there

has been full compliance with all the provisions of the policy.” (Dkt. 58-1 at 15, 168, 210, 282,

330, 372, 405, 467, 501, 544, 575, 636, 683, 717, 766, 795). Under the policies’ choice-of-law

provisions, with exceptions not relevant here, the laws of the insureds’ home states “will control.”

(Id. at 15, 211, 282, 332, 372, 405, 467, 502, 545, 575, 636, 684, 718, 767; Dkt. 68-3 at 11; Dkt.

68-13 at 13).



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   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 5 of 44 PageID #:4465




        B.       Procedural History

                 1.       This Lawsuit

        On March 18, 2022, twenty insured Plaintiffs 3 brought this putative nationwide class

action. (Dkt. 1). The February 14, 2023 First Amended Class Action Complaint added Plaintiffs

from Minnesota, New Jersey, and Michigan, among other states. (Dkt. 58 ¶¶ 25, 26, 32). The

amended complaint has not added any new claims or changed the proposed class definition from

the original complaint. (Compare Dkt. 1 ¶¶ 52–53, 62–2023, with Dkt. 58 ¶¶ 65–66, 75–637).

Plaintiffs bring thirty-two claims: breach of contract (Count 2); breach of the covenant of good

faith and fair dealing (Count 3); fraudulent concealment (Count 4); fraud in the inducement (Count

5); unjust enrichment (Count 6); declaratory judgment (Count 7); violation of the Illinois

Consumer Fraud and Deceptive Business Practices Act (ICFA) (Count 1); and violation of twenty-

five other consumer-protection statutes (Counts 8–33). (Dkt. 58 ¶¶ 75–637). 4 In Counts 8, 10, 12,

18, 21, 28, 30, and 33, Plaintiffs allege violations of the consumer-protection statutes of seven



         3
           The Plaintiffs in the original Class Action Complaint were Williams, McConnell, Wilson, Lewis, Huff,
Cervantes-White, Munoz, Benson, Tuinstra, Brown, Snyder, Dean, Dacheff, Newkirk, Smiling, Robert, Espinoza,
Payne, Bowden, and Neill. (Dkt. 1).
         4
           Specifically, Counts 8–33 bring claims under the Alaska Unfair Trade Practices and Consumer Protection
Act (Alaska CPA) (Count 8); the Arkansas Deceptive Trade Practices Act (Arkansas DTPA) (Count 9); the Colorado
Consumer Protection Act (Colorado CPA) (Count 10); the Connecticut Unfair Trade Practices Act (Connecticut
UTPA) (Count 11); the District of Columbia Consumer Protection Procedures Act (D.C. CPPA) (Count 12); the
Delaware Consumer Fraud Act (Delaware CFA) (Count 13); the Florida Deceptive and Unfair Trade Practices Act
(Florida DUPTA) (Count 14); the Hawaii Uniform Deceptive Trade Practices Act (Hawaii UDTPA) (Count 15); the
Kentucky Consumer Protection Act (Kentucky CPA) (Count 17); the Maine Unfair Trade Practices Act (Maine
UTPA) (Count 18); the Minnesota Prevention of Consumer Fraud Act (Minnesota PCFA) (Count 19); the Mississippi
Consumer Protection Act (Mississippi CPA) (Count 20); the Montana Unfair Trade Practices and Consumer
Protection Act (Montana CPA) (Count 21); the Nebraska Consumer Protection Act (Nebraska CPA) (Count 22); the
Nevada Deceptive Trade Practices Act (Nevada DTPA) (Count 23); the New Jersey Consumer Fraud Act (New Jersey
CFA) (Count 24); the New Mexico Unfair Trade Practices Act (New Mexico UTPA) (Count 25); the New York
General Business Law (New York GBL) (Count 26); the North Carolina Unfair Trade Practices (North Carolina Unfair
Practices Act) (Count 27); the North Dakota Unlawful Sales or Advertising Practices Act (North Dakota USAPA)
(Count 28); the Pennsylvania Unfair Trade Practices and Consumer Protection Law (Pennsylvania CPL) (Count 29);
the South Dakota Deceptive Trade Practices and Consumer Protection Law (South Dakota CPL) (Count 30); the Texas
Deceptive Trade Practices Act (Texas DTPA) (Count 31); the West Virginia Consumer Credit and Protection Act
(West Virginia CCPA) (Count 32); and the Wyoming Consumer Protection Act (Wyoming CPA) (Count 33). (Id. at
¶¶ 150–637). There is no “Count 16.” (See id.)

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    Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 6 of 44 PageID #:4466




states plus the District of Columbia where none of the Plaintiffs reside. (Dkt. 58 ¶¶ 150–66, 187–

204, 223–41, 313–30, 365–83, 486–502, 561–78, 620–37). 5

         Plaintiffs allege State Farm “systematically undervalues total-loss vehicles” by applying

the typical-negotiation adjustment. (Id. at ¶ 1). They claim further that the appraisal clause is “[a]n

integral part of [State Farm’s] fraudulent scheme.” (Id. at ¶¶ 6, 57). Because the appraisal clause

requires insureds to bear their own appraisal costs—which can exceed the amount by which State

Farm allegedly underpays total-loss claims—Plaintiffs assert that the clause pressures insureds to

accept the underpayment and prevents them from “vindicating their statutory and common law

rights.” (Id.) Plaintiffs seek actual damages including “the amounts improperly deducted by [State

Farm] from their payments to insureds” using the typical-negotiation adjustment. (Id. at ¶ 108).

They also seek statutory and punitive damages, restitution, interest, equitable relief, and attorneys’

fees. (Id. at ¶ 637).

         As to their common-law claims (Counts 2–7), Plaintiffs invoke Illinois law, or in the

alternative, the laws of forty-five states and the District of Columbia. (Id. at ¶¶ 65–66). 6 In total,

Plaintiffs bring claims under the laws of forty-eight jurisdictions—including sixteen where no

Plaintiffs reside. (Id. at ¶¶ 66, 348–64, 620–37). 7 Plaintiffs seek to represent a class of State Farm

insureds “in any state,” except California, who “received a first-party total loss valuation and



          5
            No Plaintiff resides in Alaska, Colorado, the District of Columbia, Maine, Montana, North Dakota, South
Dakota, or Wyoming. (Compare Dkt. 58 ¶¶ 150–66, 187–204, 223–41, 313–30, 365–83, 486–502, 561–78, 620–37,
with id. at ¶¶ 12–44).
          6
            The forty-six jurisdictions Plaintiffs list are Alabama, Alaska, Arizona, Arkansas, Colorado, Connecticut,
Delaware, the District of Columbia, Florida, Georgia, Hawaii, Idaho, Illinois, Indiana, Iowa, Kansas, Kentucky,
Louisiana, Maine, Maryland, Massachusetts, Michigan, Minnesota, Missouri, Montana, Nebraska, Nevada, New
Hampshire, New Jersey, New Mexico, New York, North Carolina, North Dakota, Ohio, Oklahoma, Oregon,
Pennsylvania, South Carolina, South Dakota, Tennessee, Texas, Utah, Virginia, Washington, West Virginia, and
Wisconsin. (Id. at ¶ 66).
          7
            Although Mississippi and Wyoming are not among the states in Plaintiffs’ list, (see Dkt. 58 ¶ 66), Plaintiffs
bring Mississippi CPA and Wyoming CPA claims. (Id. at ¶¶ 348–64, 620–37). The sixteen “Plaintiff-less”
jurisdictions are Alaska, Arizona, Colorado, the District of Columbia, Idaho, Indiana, Maine, Massachusetts, Montana,
North Dakota, South Dakota, Virginia, Washington, Wisconsin, and Wyoming. (See Dkt. 58 ¶¶ 12–44).

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   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 7 of 44 PageID #:4467




payment on an automobile total loss claim that included a ‘typical negotiation’ or similar

adjustment.” (Id. at ¶ 65 & n.3). Alternatively, Plaintiffs propose subclasses of insureds from forty-

six jurisdictions. (Id. at ¶¶ 65–67).

                2.      Parallel Actions

         This is not the only lawsuit challenging State Farm’s use of the typical-negotiation

adjustment to determine total-loss payments. Back in October 2021, Plaintiffs Munoz and Smiling,

of Illinois and North Carolina, respectively, raised similar claims in a putative class action against

State Farm in this District, before the Honorable Charles R. Norgle. Class Action Complaint,

Munoz v. State Farm Mut. Auto. Ins. Co., No. 21-cv-05211 (N.D. Ill. Oct. 1, 2021), ECF No. 1.

On October 29, 2021, Judge Norgle sua sponte dismissed the complaint for lack of subject-matter

jurisdiction and closed the case. Order, Munoz, No. 21-cv-05211 (N.D. Ill. Oct. 29, 2021), ECF

No. 6.

         On November 23, 2021, Munoz and Smiling moved to reopen Munoz, explaining that they

made an “inadvertent mistake” in failing to allege federal jurisdiction under the Class Action

Fairness Act (CAFA), 28 U.S.C. § 1332(d). Plaintiffs’ Motion for Relief from Judgment at 2–3,

Munoz, No. 21-cv-05211 (N.D. Ill. Nov. 23, 2021), ECF No. 7. The accompanying proposed

amended complaint named sixteen additional plaintiffs, including from Arkansas, Georgia,

Kansas, Louisiana, Ohio, and Tennessee. Proposed First Amended Class Action Complaint at 4–

12, Munoz, No. 21-cv-05211, ECF Nos. 7-1, 7-2. Although State Farm did not oppose the motion

to reopen—noting that the proposed amended complaint sufficiently alleged subject-matter

jurisdiction under CAFA—Munoz and Smiling withdrew the motion on March 18, 2022, the same

day they joined in filing this action. Defendant’s Response to Plaintiffs’ Motion for Relief from

Judgment at 2, Munoz, No. 21-cv-05211 (N.D. Ill. Dec. 13, 2021), ECF No. 9; Plaintiffs’ Notice



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   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 8 of 44 PageID #:4468




of Withdrawal of Motion, Munoz, No. 21-cv-05211 (N.D. Ill. Mar. 18, 2022), ECF No. 16. In April

2023, Munoz and Smiling renewed their motion to reopen Munoz and moved to consolidate that

case with this one. Plaintiffs’ Renewed Motion to Reopen Case and for Consolidation, Munoz, No.

21-cv-05211 (N.D. Ill. Apr. 28, 2023), ECF No. 18. State Farm has opposed that motion, which is

pending before the Honorable Elaine E. Bucklo. Defendant’s Response in Opposition to Plaintiffs’

Motion to Reopen Case and for Consolidation, Munoz, 21-cv-05211 (N.D. Ill. May 26, 2023), ECF

No. 25.

          In addition, there are ten parallel cases against State Farm in other federal district courts.

Seven of those cases were filed before this case: Shields (W.D. La.), Clippinger (W.D. Tenn.),

Wiggins (D.S.C.), Chadwick (E.D. Ark.), Gulick (D. Kan.), Cudd (M.D. Ga.), and Nichols (S.D.

Ohio). 8 Shields and Clippinger predated Munoz. Chadwick, Gulick, Cudd, and Nichols were filed

while the motion to reopen Munoz was pending. Three additional cases, Varela (D. Minn.),

Muhammad (D.N.J.), and Schmidt (E.D. Mich.), began after this case but before Capers,

Grossberg, and Couch—citizens of the states where those cases are pending—joined this action as

Plaintiffs in the First Amended Class Action Complaint. 9 All ten of the other federal cases allege

state-law claims stemming from State Farm’s use of the typical-negotiation adjustment in




          8
            Complaint, Shields v. State Farm Mut. Auto. Ins. Co., No. 6:19-cv-01359 (W.D. La. Oct. 16, 2019), ECF
No. 1; Notice of Removal, Clippinger v. State Farm Mut. Auto. Ins. Co., No. 2:20-cv-02482 (W.D. Tenn. July 2,
2020), ECF No. 1 (filed in state court on May 8, 2020); Notice of Removal, Wiggins v. State Farm Mut. Auto. Ins.
Co., No. 8:21-cv-03803 (D.S.C. Nov. 19, 2021), ECF No. 1 (filed in state court on October 15, 2020); Class Action
Complaint, Chadwick v. State Farm Mut. Auto. Ins. Co., No. 4:21-cv-01161 (E.D. Ark. Nov. 29, 2021); Class Action
Complaint, Gulick v. State Farm Mut. Auto. Ins. Co., No. 2:21-cv-02573 (D. Kan. Dec. 6, 2021), ECF No. 1; Class
Action Complaint, Cudd v. State Farm Mut. Auto. Ins. Co., No. 4:21-cv-00217 (M.D. Ga. Dec. 21, 2021), ECF No.
1; Class Action Complaint, Nichols v. State Farm Mut. Auto. Ins. Co., No. 2:22-cv-00016 (S.D. Ohio Jan. 4, 2022),
ECF No. 1.
          9
            Complaint, Varela v. State Farm Mut. Auto. Ins. Co., No. 22-cv-00970 (D. Minn. Apr. 15, 2022), ECF No.
1; Complaint, Muhammad v. State Farm Indem. Co., No. 2:22-cv-06149 (D.N.J. Oct. 18, 2022), ECF No. 1; Notice
of Removal, Schmidt v. State Farm Mut. Auto. Ins. Co., No. 2:22-cv-12926 (E.D. Mich. Dec. 2, 2022), ECF No. 1
(filed in state court on November 2, 2022).

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    Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 9 of 44 PageID #:4469




determining total-loss payments. 10 And the ten other cases’ proposed (and in one case, certified)

class definitions are similar to the class definition Plaintiffs propose here. 11

         Some of the other cases are further along than this one. For instance, the Shields court

certified a class, and the certification order is pending appeal. Shields v. State Farm Mut. Auto. Ins.


           10
              Complaint at 8–13, Shields, No. 6:19-cv-01359 (breach of contract, breach of covenant of good faith and
fair dealing, and violation of Louisiana statute); Amended Class Action Complaint at 12–15, Clippinger, No. 2:20-
cv-02482 (breach of contract, breach of covenant of good faith and fair dealing, and declaratory judgment), ECF No.
1-1; Class Action Complaint at 11–20, Wiggins, No. 8:21-cv-03803 (breach of contract and declaratory judgment),
ECF No. 1-1; Class Action Complaint at 9–11, Chadwick, No. 4:21-cv-01161 (breach of contract and declaratory
judgment); Amended Class Action Complaint at 8–10, Gulick, No. 2:21-cv-02573 (D. Kan Dec. 7, 2021) (breach of
contract and declaratory judgment), ECF No. 3; Plaintiff’s First Amended Class Action Complaint at 20–24, Cudd,
No. 4:21-cv-00217 (M.D. Ga. Mar. 10, 2022) (breach of contract, unjust enrichment, breach of covenant of good faith
and fair dealing, declaratory judgment, and litigation expenses under Georgia statute), ECF No. 17; Class Action
Complaint at 10–13, Nichols, No. 2:22-cv-00016 (breach of contract and unjust enrichment); Class Action Complaint
at 22–32, Varela, No. 22-cv-00970 (breach of contract, breach of covenant of good faith and fair dealing, unjust
enrichment, violation of Minnesota CFA, and declaratory judgment); Complaint at 12–14, Muhammad, No. 2:22-cv-
06149 (breach of contract and breach of covenant of good faith and fair dealing); First Amended Class Action
Complaint at 17–20, Schmidt, No. 2:22-cv-12926 (E.D. Mich. Feb. 10, 2023) (breach of contract and breach of
covenant of good faith and fair dealing), ECF No. 15.
           11
              Compare (Dkt. 58 ¶¶ 65–66), with Complaint at 13, Shields, No. 6:19-cv-01359 (Louisiana and nationwide
“policyholders who have made claims against their policy for the total loss of a vehicle and had those claims valued
through the use of the Autosource Market-Driven Valuation Report system and/or other unfair valuation tools used
by State Farm”); Shields v. State Farm Mut. Auto. Ins. Co., 2022 WL 37347, at *7 (W.D. La. Jan 3, 2022) (certifying
class as modified, to include Louisiana insureds “who have made a claim for first party total loss, which State Farm
evaluated using Autosource, or a predecessor product, . . . and whose Autosource Base Value was less than the NADA
Fully Adjusted Value (‘Clean Retail’)”); Amended Class Action Complaint at 9, Clippinger, No. 2:20-cv-02482
(Tennessee insureds who “received a first-party total loss valuation and payment that included a downward adjustment
premised on a ‘Typical Negotiation Adjustment’ or similar adjustment”); Class Action Complaint at 14, Wiggins, No.
8:21-cv-03803 (South Carolina insureds who “received a first-party total loss valuation and payment that included a
downward adjustment premised on a ‘Typical Negotiation Adjustment’ or similar adjustment”); Class Action
Complaint at 6–7, Chadwick, No. 4:21-cv-01161 (Arkansas insureds who “received a first-party total loss valuation
and payment that included a downward adjustment premised on a ‘Typical Negotiation Adjustment’ or similar
adjustment”); Amended Class Action Complaint at 6–7, Gulick, No. 2:21-cv-02573 (Kansas insureds who “received
a first-party total loss valuation and payment that included a downward adjustment premised on a ‘Typical Negotiation
Adjustment’ or similar adjustment”); Plaintiff’s First Amended Class Action Complaint at 18, Cudd, No. 4:21-cv-
00217 (Georgia insureds “who received compensation . . . for the total loss of their own vehicles under their First
Party . . . coverages, and . . . whose claim was settled using the amount determined by a total loss valuation from
Audatex based on the value of comparable vehicles which took a deduction or adjustment for ‘typical negotiation’”);
Class Action Complaint at 7–8, Nichols, No. 2:22-cv-00016 (Ohio insureds “who received compensation . . . for the
total loss of their own vehicles under their First Party . . . coverages, and . . . whose claim was settled using the amount
determined by a total loss valuation from Audatex based on the value of comparable vehicles which took a deduction
or adjustment for ‘typical negotiation’”); Plaintiff’s Class Action Complaint at 18–19, Varela, No. 22-cv-00970
(Minnesota insureds “who received compensation . . . for the total loss of their own vehicles under the First Party . . .
coverages, and . . . whose claim was settled using the amount determined by a total loss valuation . . . based on the
value of comparable vehicles which took a deduction or adjustment for ‘typical negotiation’”); Complaint at 10,
Muhammad, No. 2:22-cv-06149 (insureds “who received a first-party total-loss valuation and payment on an
automobile total-loss claim that included a ‘typical negotiation’ or similar adjustment”); First Amended Class Action
Complaint at 13, Schmidt, No. 2:22-cv-12926 (Michigan insureds “who received a first-party total-loss valuation and
payment on an automobile total-loss claim that included a ‘typical negotiation’ or similar adjustment”).

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  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 10 of 44 PageID #:4470




Co., 2022 WL 37347 (W.D. La. Jan. 3, 2022), motion for leave to appeal under Fed. R. Civ. P.

23(f) granted, No. 22-90002 (5th Cir. Mar. 14, 2022), appeal transferred, No. 22-30126 (5th Cir.

Mar. 14, 2022). The district court in Chadwick denied State Farm’s motion to dismiss for failure

to state a claim. Chadwick v. State Farm Mut. Auto. Ins. Co., 2022 WL 18779022 (E.D. Ark. July

5, 2022). The Clippinger and Wiggins courts denied State Farm’s motions to dismiss or for

summary judgment while compelling the plaintiffs to submit to appraisal. Clippinger v. State Farm

Mut. Auto. Ins. Co., 2021 WL 4887984 (W.D. Tenn. Oct. 19, 2021). Wiggins v. State Farm Mut.

Auto. Ins. Co., 2022 WL 2276556 (D.S.C. June 23, 2022). In contrast, the Nichols court denied

State Farm’s motion to dismiss and refused to compel appraisal. Nichols v. State Farm Mut. Auto.

Ins. Co., 2022 WL 6671695 (S.D. Ohio Oct. 11, 2022), reconsideration denied, No. 2:22-cv-00016

(S.D. Ohio Oct. 24, 2022), ECF No. 42. State Farm’s renewed motion to compel appraisal,

responding to the plaintiff’s amended complaint, is pending. Renewed Motion to Compel

Appraisal, Nichols, No. 2:22-cv-00016 (S.D. Ohio May 5, 2023), ECF No. 72.

       Then, in Cudd, the district court granted State Farm’s motion to dismiss based on the

plaintiff’s failure to comply with his policy’s appraisal clause—a ruling which is pending appeal.

Cudd v. State Farm Mut. Auto. Ins. Co., 2022 WL 16541166 (M.D. Ga. Oct. 28, 2022), appeal

docketed, No. 22-13916 (11th Cir. Nov. 23, 2022). More recently, the Varela district court granted

State Farm’s motion to dismiss in part, finding the plaintiff’s common-law claims were subject to

a binding arbitration clause, while allowing the Minnesota CFA claim to move forward. Varela v.

State Farm Mut. Auto. Ins. Co., 2023 WL 1971753 (D. Minn. Feb. 13, 2023), appeal docketed,

No. 23-1516 (8th Cir. Mar. 17, 2023). The Varela decision is also pending appeal.

       Other cases are behind this one. State Farm’s motions to dismiss are pending in Gulick,

Muhammad, and Schmidt. Motion to Dismiss, Gulick v. State Farm Mut. Auto. Ins. Co., No. 2:21-



                                               10
  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 11 of 44 PageID #:4471




cv-02573 (D. Kan. Feb. 21, 2022), ECF No. 16; Motion to Dismiss Amended Complaint,

Muhammad v. State Farm Indem. Co., No. 2:22-cv-06149 (D.N.J. Apr. 28, 2023), ECF No. 27;

Motion to Dismiss Amended Complaint, Schmidt v. State Farm Mut. Auto. Ins. Co., No. 2:22-cv-

12926 (E.D. Mich. Mar. 17, 2023), ECF No. 18.

                 3.      Appraisal Demand

        After Plaintiffs filed this suit, State Farm demanded that fourteen Plaintiffs 12 submit to

appraisal. (Dkt. 68 ¶¶ 6–8; Dkts. 68-1, 73-1, 73-2, 78-1). On January 28, 2023, Plaintiffs’ counsel

indicated that the appraisal Plaintiffs would “agree to participate in the appraisal process, to

proceed concurrently with the pending litigation.” (Dkt. 78-1 at 7). Those Plaintiffs have since

refused to submit to appraisal. (Dkt. 78-1 at 3).

                 4.      Present Motions

        State Farm now brings three motions. First, it moves to dismiss, transfer, or stay ten

Plaintiffs’ 13 claims in favor of cases in other districts. (Dkt. 62). Second, as to the fourteen

appraisal Plaintiffs’ claims, State Farm moves to compel appraisal, or alternatively, dismiss or

grant summary judgment. (Dkt. 65). Third, State Farm moves to dismiss the amended complaint’s

“headless” claims (Counts 8, 10, 12, 18, 21, 28, 30, and 33 in their entirety, and Counts 2–7 to the

extent they invoke the laws of Plaintiff-less states). (Dkt. 69).

                                          LEGAL STANDARD

        Deciding a motion to dismiss, stay, or transfer venue, the Court makes necessary factual

findings. See In re LimitNone, LLC, 551 F.3d 572, 577 (7th Cir. 2008); see, e.g., Crothall Laundry



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           The fourteen “appraisal” Plaintiffs are Lewis, Huff, Cervantes-White, Munoz, Snyder, Couch, Dacheff,
Dean, Newkirk, Smiling, Robert, Payne, Bowden, and Dewsnup. (Dkt. 65 at 1–2).
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           The ten so-called “second-filed” Plaintiffs (and their home states), are McConnell (Arkansas), Huff
(Georgia), Benson (Kansas), Brown (Louisiana), Couch (Michigan), Capers (Minnesota), Grossberg (New Jersey),
Robert (Ohio), Payne (South Carolina), and Bowden (Tennessee). (Dkt. 62 at 1–2). Huff, Couch, Robert, Payne, and
Bowden are also among the appraisal Plaintiffs. (Dkt. 65 at 2 n.1).

                                                      11
  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 12 of 44 PageID #:4472




Servs., Inc. v. OSF Health Care Syst, 2018 WL 1695364, at *4 (N.D. Ill. Apr. 6, 2018). The Court

will “consider only undisputed facts presented . . . by affidavit, deposition, stipulation, or other

relevant documents.” Crothall, 2018 WL 1695364, at *4 (quoting Moore v. AT&T Latin Am.

Corp., 177 F. Supp. 2d 785, 790 (N.D. Ill. 2001)). Put differently, the Court accepts the

complaint’s well-pleaded facts as true, “unless contradicted by affidavits or other appropriate

evidence from the defendant.” Id. at *4 (quoting Howze v. United States, 2015 WL 9315542, at *1

(N.D. Ill. Dec. 23, 2015), and collecting cases).

       To survive a motion to dismiss for failure to state a claim, the complaint must contain “a

short and plain statement of the claim showing that the pleader is entitled to relief.” Kaminski v.

Elite Staffing, 23 F.4th 774, 776 (7th Cir. 2022) (quoting Fed. R. Civ. P. 8(a)(2)). Thus, “a plaintiff

must allege ‘enough facts to state a claim that is plausible on its face.’” Allen v. Brown Advisory,

LLC, 41 F.4th 843, 850 (7th Cir. 2022) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). “A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

(quoting Ashcroft v. Iqbal, 566 U.S. 662, 678 (2009)). The Court accepts the well-pleaded factual

allegations in Plaintiffs’ complaint as true, “drawing all reasonable inferences in [their] favor.” Id.

(citing W. Bend Mut. Ins. Co. v. Schumacher, 844 F.3d 670, 675 (7th Cir. 2016)).

       Then, summary judgment is appropriate where “the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). A genuine issue of material fact exists when there is “sufficient evidence” for a jury

to return a verdict in favor of the party opposing summary judgment. Birch|Rea Partners, Inc. v.

Regent Bank, 27 F.4th 1245, 1249 (7th Cir. 2022) (quoting Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 249 (1986)). The Court does not “weigh conflicting evidence, resolve swearing



                                                    12
     Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 13 of 44 PageID #:4473




contests, determine credibility, or ponder which party's version of the facts is most likely to be

true.” Stewart v. Wexford Health Sources, Inc., 14 F.4th 757, 760 (7th Cir. 2021).

                                             DISCUSSION

I.       Motion to Dismiss, Transfer, or Stay Under the First-Filed Rule

         State Farm first moves to dismiss, stay, or transfer ten Plaintiffs’ claims to ten other districts

pursuant to the first-filed doctrine. “Federal district courts have inherent power to administer their

dockets so as to conserve scarce judicial resources.” Trippe Mfg. Co. v. Am. Power Conversion

Corp., 46 F.3d 624, 629 (7th Cir. 1995) (citing Ridge Gold Standard Liquors, Inc. v. Joseph E.

Seagram & Sons, Inc., 572 F. Supp. 1210, 1213 (N.D. Ill. 1983)). Thus, “for reasons of wise

judicial administration,” the Court may dismiss, stay, or transfer a case “whenever it is duplicative

of a parallel action already pending in another federal court.” McReynolds v. Merrill Lynch & Co.,

694 F.3d 873, 888–89 (7th Cir. 2012) (quoting Serlin v. Arthur Andersen & Co., 3 F.3d 221, 223

(7th Cir. 1993)); see also, e.g., Nicholson v. Nationstar Mortg. LLC of Del., 2018 WL 3344408, at

*5 (N.D. Ill. July 6, 2018). “A suit is duplicative if the ‘claims, parties, and available relief do not

significantly differ between the two actions.’” Scholz v. United States, 18 F.4th 941, 951 (7th Cir.

2021) (quoting McReynolds, 694 F.3d at 889). Put another way, the claims, parties, and available

relief must “substantially overlap,” although duplicative cases need not be identical. Nicholson,

2018 WL 3344408, at *5 (collecting cases).

         In the face of duplicative litigation, “the general rule favors the forum of the first-filed

suit.” Schwarz v. Nat’l Van Lines, Inc., 317 F. Supp. 2d 829, 832 (N.D. Ill. 2004); see also Serlin,

3 F.3d at 223–24 (deferring to first-filed action was “wise judicial administration”). So “district

courts normally stay or transfer a federal suit” that duplicates an earlier-filed action. Nicholson,

2018 WL 3344408, at *4 (citing GE Bus. Fin. Servs. Inc. v. Spratt, 2009 WL 1064608, at *2 n.1



                                                    13
   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 14 of 44 PageID #:4474




(N.D. Ill. Apr. 20, 2009)). Yet, the Seventh Circuit “does not rigidly adhere to a first-to-file rule.”

Rsch. Automation, Inc. v. Schrader-Bridgeport Int’l, Inc., 626 F.3d 973, 980 (7th Cir. 2010) (citing

Trippe Mfg., 46 F.3d 629). Rather, “[a] district court has ‘an ample degree of discretion’ in

deferring to another federal proceeding involving the same parties and issues to avoid duplicative

litigation.” Trippe Mfg., 46 F.3d at 629 (quoting Kerotest Mfg. Co. v. C-O-Two Fire Equip. Co.,

342 U.S. 180, 183 (1952)).

         A.       Chronology

         At the outset, the Court considers which of the ten other cases were filed before this one.

Conceding that Shields (W.D. La.) and Clippinger (W.D. Tenn.) were filed first by any measure,

Plaintiffs argue that the eight other actions—Wiggins (D.S.C.), Chadwick (E.D. Ark.), Gulick (D.

Kan.), Cudd (M.D. Ga.), Nichols (S.D. Ohio), Varela (D. Minn.), Muhammad (D.N.J.), and

Schmidt (E.D. Mich.)—were filed after Munoz in this District, and so, are not first-filed. (Dkt. 74

at 9–10). Because the parties and claims in Munoz and this case overlap, Plaintiffs urge the Court

to impute Munoz’s filing date to this case. (Id. at 9). This argument misses the mark. Munoz was

dismissed for lack of subject-matter jurisdiction, and that case remains closed. See Order, Munoz,

No. 21-cv-05211, ECF No. 6.

         Although Munoz’s and Smiling’s motion to reopen Munoz and consolidate it with this case

is pending, unless and until Judge Bucklo grants that motion, Munoz’s filing date is irrelevant. See,

e.g., Tech. Licensing Corp. v. Harris Corp., 2012 WL 1298611, at *4 (N.D. Ill. Apr. 16, 2012)

(“[T]he first-to-file rule involves districts in which related cases are ongoing, and there exists a

danger of simultaneous rulings in two different venues.” (emphasis added)). 14 The similarities


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            Plaintiffs have misplaced their reliance on decisions of other district courts which deemed a case to be
“filed,” for purposes of first-to-file analysis, upon the filing of an original complaint in the same case that failed to
establish subject-matter jurisdiction. See Tongfang Glob. Ltd. v. Element Television Co., 2020 WL 12602227, at *4
(C.D. Cal. Apr. 6, 2020); Hilton v. Apple Inc., 2013 WL 5487317, at *4 (N.D. Cal. Oct. 1, 2013).

                                                          14
  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 15 of 44 PageID #:4475




between Munoz and this case are beside the point. Nor does it matter that the original Munoz

complaint inadvertently failed to plead subject-matter jurisdiction, that State Farm did not oppose

the first motion to reopen, or that State Farm earlier conceded that the proposed amended complaint

would have cured the original complaint’s jurisdictional deficiencies. Thus, Shields, Clippinger,

Wiggins, Chadwick, Gulick, Cudd, and Nichols were filed before this case.

       Plaintiffs are correct, however, that Varela, Muhammad, and Schmidt were filed after this

case. Those cases began after Plaintiffs filed the original March 18, 2022 Class Action Complaint

but before they filed the February 14, 2023 First Amended Class Action Complaint. Because

Plaintiffs from Minnesota, New Jersey, and Michigan did not join this action until the later

amended complaint, State Farm contends that the cases filed in those states were earlier filed. In

support of this questionable position, State Farm asks the Court to find that the Minnesota, New

Jersey, and Michigan Plaintiffs’ claims do not relate back to the original complaint, citing Federal

Rule of Civil Procedure 15(c)(1)(B). (Dkt. 63 at 4 n.1). Under that Rule, an amendment relates

back if “the amendment asserts a claim or defense that arose out of the conduct, transaction, or

occurrence set out—or attempted to be set out—in the original pleading.” Fed. R. Civ. P.

15(c)(1)(B).

       Typically, Rule 15(c)(1)(B) governs the relation back of an amended pleading filed past

the statute of limitations to a timely pleading. See Fed. R. Civ. P. 15(c) advisory committee’s note

to 1966 amendment (“Relation back is intimately connected with the policy of the statute of

limitations.”); 6A Charles Alan Wright et al., Federal Practice and Procedure § 1498 (3d ed. 2023)

(“[Rule 15(c)] alters the generally accepted rule that new parties, either plaintiffs or defendants,

cannot be added to an action by amendment after the applicable limitations period has expired.”).

As to whether the relation-back inquiry is useful to determining the chronology of parallel actions,



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  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 16 of 44 PageID #:4476




there is room for disagreement. See No Cost Conference, Inc. v. Windstream Commc’ns, Inc.,

940 F. Supp. 2d 1285, 1306 (S.D. Cal. 2013) (observing, in the absence of binding precedent, that

district “courts are split on whether the relation-back doctrine applies in the context of the first-

filed rule”).

        Specifically, where a case becomes duplicative of another case through an amended

complaint, some courts have held that the amended complaint sets the case’s effective filing date

unless it relates back to the original complaint. Compare, e.g., Halo Elecs., Inc. v. Bel Fuse Inc.,

2008 WL 1991094, at *2–3 (N.D. Cal. May 5, 2008) (amended complaint’s filing date controlled

because new claims did not relate back), and Mann Design Ltd. v. Bounce, Inc., 138 F. Supp. 2d

1174, 1178–79 (D. Minn. 2001) (same), with O2COOL, LLC v. Discovery Commc’ns, LLC,

2013 WL 157703, at *3 (N.D. Ill. Jan. 15, 2013) (“The factual allegations were the same in both

complaints, and therefore the amended complaint relates back, and the California Lawsuit was the

first-filed lawsuit.”), and Naula v. Rite Aid of N.Y., 2010 WL 2399364, at *1 n.2 (S.D.N.Y. Mar.

23, 2010) (finding an amended complaint—which adds a new defendant but is otherwise “identical

to the initial complaint”—“relates back to the filing date of the original complaint for purposes of

the first-filed rule”).

        Other courts have rejected relation-back analysis in this context, especially where the

amended complaint merely adds new plaintiffs. See, e.g., Berry Floor USA, Inc. v. Faus Grp., Inc.,

2008 WL 4610313, at *4–5 (E.D. Wis. Oct. 15, 2008) (“This court, confronted with conflicting

case law on whether it should look to the time it took possession of the case, or the time the non-

relating-back amended complaint was filed, finds that the rationale for looking to the time of

possession is more logical.”); SMIC, Ams. v. Innovative Foundry Techs. LLC, 473 F. Supp. 3d

1021, 1025 (N.D. Cal. 2020) (“[T]he filing of a complaint triggers the first-filed rule, regardless



                                                 16
  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 17 of 44 PageID #:4477




of whether the plaintiff later amends the complaint.” (quoting Hilton, 2012 WL 5487317, at *6));

McGarry v. Delta Air Lines, Inc., 2018 WL 6928799, at *3 & n.29 (N.D. Ga. Nov. 20, 2018)

(collecting cases and refusing to apply relation-back analysis where the “amended complaint

substituted in new named plaintiffs,” and “did not materially change the subject matter of the

action”).

       This Court need not decide whether relation back controls the first-filed chronology

inquiry—although it is doubtful. See Morlan v. Univ. Guar. Life Ins. Co., 298 F.3d 609, 617 (7th

Cir. 2002) (“The only significance of relation back is avoidance of the bar of the statute of

limitations . . . .”). Either way, this case is earlier filed than Varela, Muhammad, and Schmidt. Of

course, if relation back does not apply here, the filing date of the original complaint would govern.

And assuming for the sake of argument that relation back applies, Plaintiffs’ amended complaint

would relate back to the original complaint.

       Rule 15(c)(1)(B)’s “central inquiry” focuses on notice—asking “whether the original

complaint ‘gave the defendant enough notice of the nature and scope of the plaintiff’s claim that

he shouldn’t have been surprised by the amplification of the allegations of the original complaint

in the amended one.’” Supreme Auto Transp., LLC v. Arcelor Mittal USA, Inc., 902 F.3d 735, 741

(7th Cir. 2018) (quoting Santamarina v. Sears Roebuck & Co., 466 F.3d 570, 573 (7th Cir. 2006)).

“Even ‘significant’ changes to a complaint or to a class definition can relate back so long as the

defendant had fair notice of the substance of the new allegations from the outset.” Id. (citing

Knudsen v. Liberty Mut. Ins. Co., 411 F.3d 805, 806 (7th Cir. 2005)).

       Where an amendment changes the defendant, Rule 15(c)(1)(C) imposes additional

requirements geared toward ensuring the new defendant’s notice of the amended complaint’s




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   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 18 of 44 PageID #:4478




claims. 15 The policy of ensuring fair notice “extends by analogy to amendments changing

plaintiffs.” Fed. R. Civ. P. 15(c) advisory committee’s note to 1966 amendment (“The relation

back of amendments changing plaintiffs is not expressly treated in revised Rule 15(c) since the

problem is generally easier.”); see also Paskuly v. Marshall Field & Co., 646 F.2d 1210, 1211 (7th

Cir. 1981) (holding an amended complaint related back to an original complaint which put the

defendant “on notice that it might be required to defend its employment practices from charges of

class-based discrimination”).

         Thus, “[a] plaintiff may usually amend his complaint under Rule 15(c) . . . to substitute or

add as plaintiff the real party in interest; or to add additional plaintiffs where the action, as

originally brought, was a class action.” Worthington v. Wilson, 8 F.3d 1253, 1256 (7th Cir. 1993)

(quoting Wood v. Worachek, 618 F.2d 1225, 1229 (7th Cir. 1980)); see also Phillips v. Ford Motor

Co., 435 F.3d 785, 787–88 (7th Cir. 2006) (“Unless jurisdiction never attached . . . , substitution

for the named plaintiffs [in a class action] is allowed.” (citing Walters v. Edgar, 163 F.3d 430,

432–33 (7th Cir. 1998))). A new plaintiff’s claim relates back to an original complaint “where (1)

the new plaintiff’s claim arose out of the same conduct, transaction or occurrence set forth in the

original complaint; (2) the new plaintiff shares an identity of interest with the original plaintiff; (3)

the defendants have fair notice of the new plaintiff’s claim; and (4) the addition of the new plaintiff

will not cause the defendants prejudice.” Jordan v. Jewel Food Stores, Inc., 2015 WL 4978700, at

*2 (N.D. Ill. Aug. 20, 2015) (quoting Hawkins v. Groot Indus., Inc., 210 F.R.D. 226, 232 (N.D.

Ill. 2002)).




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            Rule 15(c)(1)(C) allows an amendment changing defendants where (1) Rule 15(c)(1)(B) is met; (2) the
new defendant received sufficient notice to “not be prejudiced in defending on the merits; and” (3) it “knew or should
have known that the action would have been brought against it, but for a mistake concerning the proper party’s
identity.” Fed. R. Civ. P. 15(c)(1)(C).

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  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 19 of 44 PageID #:4479




       Plaintiffs’ claims in the amended complaint, no doubt, arise from the same “conduct,

transaction, or occurrence” alleged in the original complaint. See Fed. R. Civ. P. 15(c)(1)(B); see

also, e.g., In re Allstate Corp. Sec. Litig., 966 F.3d 595, 616 (7th Cir. 2020). The amended

complaint, like the original complaint, challenges State Farm’s use of the typical-negotiation

adjustment, asserts the same common-law and statutory causes of action, and proposes an identical

class definition. (Compare Dkt. 1 ¶¶ 52–53, 62–2023, with Dkt. 58 ¶¶ 65–66, 75–637). State Farm

does not contest that the new Plaintiffs in the amended complaint share an identity of interest with

the original Plaintiffs: they have all alleged similar injuries from State Farm’s use of the typical-

negotiation adjustment. See, e.g., Hawkins, 210 F.R.D. at 232. The original complaint gave State

Farm adequate notice of the new Plaintiffs’ claims. And the addition of new Plaintiffs has not

prejudiced State Farm.

       Nonetheless, State Farm argues that the new Plaintiffs’ claims in the amended complaint—

in particular, those of the Minnesota, New Jersey, and Michigan Plaintiffs—do not relate back to

identical claims in the original complaint because none of the original twenty Plaintiffs was a

citizen of those states. (Dkt. 63 at 4 n.1). As asserted in the original complaint, State Farm

contends, Plaintiffs’ “headless claims” under Minnesota, New Jersey, and Michigan law were “a

legal nullity.” (Id.) But State Farm offers no support for its contention that headless class claims

are null for purposes of relation back. Cf. Morlan, 298 F.3d at 617 (noting that relation back

“allows even jurisdictional defects in the original complaint to be cured provided the amended

complaint relates back”). Even if the original complaint’s claims under Minnesota, New Jersey,

and Michigan law were null, the claims of Plaintiffs from those states relate back to the original

Plaintiffs’ claims under the laws of other states because the underlying facts are the same. Thus,




                                                 19
  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 20 of 44 PageID #:4480




this case is first-filed relative to Varela, Muhammad, and Schmidt—but not the seven other parallel

actions.

        B.      Substantial Overlap

        In determining whether parallel cases are duplicative, district courts have “a great deal of

latitude and discretion.” Serlin, 3 F.3d at 223 (quoting Ridge Gold, 572 F. Supp. at 1213). Except

for Shields and Clippinger, Plaintiffs concede that this case and the parallel actions are duplicative.

(Dkt. 74 at 1–4 & n.4). Focusing on those cases, Shields and Clippinger are duplicative too.

                1.      Shields

        Shields, Plaintiffs argue, “is based on a different legal theory and is brought on behalf of a

different class.” (Dkt. 74 at 2 n.4, 4). The Court disagrees: “the claims, parties, and available relief

do not significantly differ between the two actions.” See Serlin, 3 F.3d at 223. Similar to this case,

Shields is a class action against State Farm—although the Shields class is already certified. To

determine whether the parties to these cases substantially overlap, the Court compares the absent

class members in Shields to the putative class members here. See Nicholson, 2018 WL 3344408,

at *5; Askin v. Quaker Oats Co., 2012 WL 517491, at *4 (N.D. Ill. Feb. 15, 2012) (collecting

cases). Recall that Plaintiffs here propose a class of insureds “in any state,” except California, who

“received a first-party total loss valuation and payment on an automobile total loss claim that

included a ‘typical negotiation’ or similar adjustment.” (Dkt. 58 ¶ 65 & n.3). The Shields Court

certified a similar class of Louisiana insureds “who have made a claim for a first party total loss,

which State Farm evaluated using Autosource, or a predecessor product, . . . and whose

Autosource Base Value was less than the NADA Fully Adjusted Value (‘Clean Retail’).” Shields,

2022 WL 37347, at *7–8 (explaining that NADA is a lawful method of assessing actual cash value

under a Louisiana statute). Although the Shields plaintiffs’ complaint sought to certify a class



                                                  20
   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 21 of 44 PageID #:4481




virtually indistinguishable from the putative class here, 16 the district court modified the class

definition to omit putative class members who suffered no economic harm. Shields, 2022 WL

37347, at *7–8. That difference is not significant.

        Certainly, many insureds would fall into both classes. See, e.g., Nicholson, 2018 WL

3344408, at *6 (finding substantial overlap between putative classes including “at least some of

the same individuals”). Brown—the Louisiana Plaintiff whose claims State Farm seeks to sever

and dismiss, transfer, or stay in favor of Shields—received a total-loss payment that was less than

the NADA Fully Adjusted Value of her car, which means she is a member of the Shields class.

(Dkt. 58 ¶ 23; Dkt. 58-3 at 118, 124); see Shields, 2022 WL 37347, at *7. Although the similarity

of absent class members is typically the focus of the substantial-overlap inquiry, see Askin,

2012 WL 517491, at *4, Brown’s membership in the Shields class reflects substantial overlap

between the parties. See, e.g., Moore v. Morgan Stanley & Co., 2007 WL 4354987, at *2 (N.D. Ill.

Dec. 6, 2007) (finding putative class actions duplicative where “twelve of the fourteen named

plaintiffs [were] members of the proposed class” in the parallel action).

        The claims and available relief in this case and Shields also substantially overlap. Both

complaints allege breach of contract, breach of the covenant of good faith and fair dealing, and

statutory violations stemming from State Farm’s valuation of total-loss vehicles. Compare (Dkt.

58-3 ¶¶ 93–108), with Complaint at 8–13, Shields, No. 6:19-cv-01359. The claims depend on the

same underlying “core factual allegations”: State Farm purportedly undervalued total-loss vehicles

and underpaid insureds. See Humphrey v. United Healthcare Servs., Inc., 2014 WL 3511498, at

*2 (N.D. Ill. July 16, 2014); see also Nicholson, 2018 WL 3344408, at *7 (collecting cases).


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            See Complaint at 13, Shields, No. 6:19-cv-01359 (seeking certification of a class of Louisiana and
nationwide “policyholders who have made claims against their policy for the total loss of a vehicle and had those
claims valued through the use of the Autosource Market-Driven Valuation Report system and/or other unfair valuation
tools used by State Farm”).

                                                        21
   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 22 of 44 PageID #:4482




Specifically, both actions challenge State Farm’s use of the typical-negotiation and similar

adjustments through Autosource. 17 Although the claims in these two actions are not identical,

complete overlap is not necessary. See, e.g., Humphrey, 2014 WL 3511498, at *2 (“Claims need

not be identical to satisfy the ‘same issues’ requirement of the first-to-file doctrine.” (quoting

Preci-Dip, SA v. Tri-Star Elecs. Int’l, Inc., 2008 WL 5142401, at *2 (N.D. Ill. Dec. 4, 2008))). Nor

is the available relief significantly different between this case and Shields. Both actions, on behalf

of a class or putative class, seek damages, interest, and attorneys’ fees. Compare (Dkt. 58 ¶ 637),

with Complaint at 15, Shields, No. 6:19-cv-01359. Plaintiffs’ request for declaratory judgment—

the only available relief distinguishing this case from Shields—does not present a significant

difference. Thus, Shields is duplicative.

                 2.       Clippinger

        So is Clippinger. While Plaintiffs acknowledge that Clippinger “aris[es] out of the same

set of facts and alleg[es] the same legal theory” as this case, they attempt to distinguish Clippinger

as a putative class of Tennessee insureds alleging violations of only Tennessee law. (Dkt. 74 at 1–

2). That is not a meaningful distinction, particularly since the First Amended Class Action

complaint here also invokes Tennessee law—at least in the alternative to Illinois law. (See Dkt.

58-3 ¶¶ 66–67). Both Clippinger and this case are putative class actions with nearly identical

proposed class definitions, bringing claims of breach of contract, breach of the covenant of good

faith and fair dealing, and declaratory judgment, challenging the same conduct, and seeking the

same relief. Compare (Dkt. 58-3 ¶¶ 65–67, 93–108, 144–49), with Amended Class Action



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            Compare (Dkt. 58-3 ¶¶ 50–56, 65–66 (complaining that State Farm uses Autosource to apply “a deceptive
and arbitrary ‘typical negotiation’ adjustment to the value of the comparable vehicles before determining the total-
loss payment”)), with Complaint at 8, Shields, No. 6:19-cv-01359 (complaining that Autosource “applies an
‘adjustment’ . . . by using comparable vehicles but without knowing or examining [their] condition,” and State Farm
uses Autosource to “intentionally undervalue total loss vehicles through the use of obscure adjustments which
systematically reduce values derived from comparables [sic]”).

                                                        22
   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 23 of 44 PageID #:4483




Complaint at 9, 12–15, Clippinger, No. 2:20-cv-02482. Further, Bowden, the Tennessee Plaintiff

here, is a member of the Clippinger class.

         Having resolved the chronology and determined that all ten parallel actions are duplicative,

the Court next considers whether any relief is appropriate.

         C.       Motion to Dismiss or Stay

         There is no need to dismiss or stay the claims of Brown, Bowden, McConnell, Payne,

Benson, Huff, or Robert in favor of the first-filed cases in their home states, Shields, Clippinger,

Wiggins, Chadwick, Gulick, Cudd, and Nichols. The Court “has broad discretion to dismiss a

complaint”—or sever and dismiss parties or claims—in favor of earlier-filed duplicative actions.

See McReynolds, 694 F.3d at 888; see also Fed. R. Civ. P. 21. 18 But dismissal is disfavored. See

Gleash v. Yuswak, 308 F.3d 758, 760 (7th Cir. 2002) (“Even when prudence calls for putting a

redundant suit on hold, it must be stayed rather than dismissed unless there is no possibility of

prejudice to the plaintiff.”); Cent. States, Se. & Sw. Areas Pension Fund v. Paramount Liquor Co.,

203 F.3d 442, 444–45 (7th Cir. 2000) (“Outright dismissal is most likely to be appropriate

when . . . the same party has filed all of the suits.” (citing Serlin, 3 F.3d 221)); Asset Allocation &

Mgmt. Co. v. W. Emps. Ins. Co., 892 F.2d 566, 571 (7th Cir. 1990) (noting that dismissal of a

harassing or vexatious second suit is proper). Since dismissal can cause statute-of-limitations

problems for Plaintiffs down the road, “why take chances?” See Asset Allocation, 892 F.2d at 571.

         Deciding whether to stay, “courts balance the competing interests of the parties and the

interest of the judicial system.” Markel Am. Ins. Co. v. Dolan, 787 F. Supp. 2d 776, 779 (N.D. Ill.




        18
           Rule 21 provides: “On motion or on its own, the court may at any time, on just terms, add or drop a party.
The court may also sever any claim against a party.” Fed. R. Civ. P. 21. Courts may sever claims which are “discrete
and separate”—i.e., where one claim is “capable of resolution despite the outcome of the other claim.” Gaffney v.
Riverboat Servs. of Ind., Inc., 451 F.3d 424, 442 (7th Cir. 2006) (quoting Rice v. Sunrise Express, Inc., 209 F.3d 1008,
1016 (7th Cir. 2000)).

                                                          23
  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 24 of 44 PageID #:4484




2011) (citing Landis v. N. Am. Co., 299 U.S. 248, 254–55 (1936)). Often, courts consider: “(1)

whether a stay will unduly prejudice or tactically disadvantage the non-moving party; (2) whether

a stay will simplify the issues in question and streamline the trial; and (3) whether a stay will

reduce the burden of litigation on the parties and the court.” Norix Grp., Inc. v. Corr. Techs., Inc.,

542 F. Supp. 3d 824, 830 (N.D. Ill. 2021). Yet, those three factors do not curb the Court’s

discretion to balance additional considerations. Kove IO, Inc. v. Amazon Web Servs., Inc.,

2022 WL 683666, at *2 (N.D. Ill. Mar. 8, 2022) (citing Murata Mach. USA v. Daifuku Co.,

830 F.3d 1357, 1362 (Fed. Cir. 2016)).

       Staying some Plaintiffs’ claims could prejudice them. Regardless of a potential piecemeal

stay, the remaining Plaintiffs would march on toward class certification and trial. If a duplicative

case ends without resolving a stayed Plaintiff’s claim, warranting lifting the stay, the resulting

inefficiency would be untenable. To the extent any differences between Plaintiffs—such as the

terms of their policies, their states of residence, and relatedly, the law governing their claims—

impact the scope of discovery, a stayed-and-later-unstayed Plaintiff would need to play catchup.

Presumably, stayed Plaintiffs would not become members of the class in this case. So if a stay of

individual claims were lifted after class certification in this case, the unstayed Plaintiffs would

need to seek modification of the class, or else, forgo resolution of their claims. Either possibility

would slow this case down, undermining the efficiency of class-action litigation.

       Second, staying select Plaintiffs’ claims could only marginally simplify the issues or

streamline litigation. Plaintiffs all bring the same claims, raising the same issues. Although

different states’ laws may govern Plaintiffs’ claims, the Court will determine the scope of this

action at the class-certification stage. For now, the presence of Plaintiffs from numerous states is

not a strong reason to stay some of their claims. Third, the apparent inefficiencies that could result



                                                 24
  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 25 of 44 PageID #:4485




from eventually lifting a stay as to certain Plaintiffs would burden the parties and the Court.

Staying individual Plaintiffs’ claims risks needlessly complicating this case and wasting

resources—dangers which outweigh any efficiency gained by (temporarily) reducing the number

of Plaintiffs. Finally, this action has the potential to be broader than the duplicative actions, which

could render this a “superior vehicle” for resolving insureds’ claims. See Blair v. Equifax Check

Servs., Inc., 181 F.3d 832, 838 (7th Cir. 1999).

       As to the duplicative actions filed after this one, the first-filed doctrine, of course, does not

apply. In addition to the reasons deferring to the first-filed actions is unwarranted, this action being

first in time weighs against dismissing or staying claims in favor of Varela, Muhammad, or

Schmidt. Of those three later-filed cases, only Varela is farther along than this case—and barely.

See Varela, 2023 WL 1971753 (granting in part and denying in part State Farm’s motion to

dismiss), appeal docketed, No. 23-1516 (8th Cir. Mar. 17, 2023). In Muhammad and Schmidt,

State Farm’s motions to dismiss are pending. See Motion to Dismiss Amended Complaint,

Muhammad, No. 2:22-cv-06149 (D.N.J. Apr. 28, 2023), ECF No. 27; Motion to Dismiss, Schmidt,

No. 2:22-cv-12926 (E.D. Mich. Mar. 17, 2023), ECF No. 18. State Farm has not shown that

deferring to the later-filed actions would reflect “wise judicial administration.” See McReynolds,

694 F.3d at 888 (quoting Serlin, F.3d at 223). Seeing no reason to depart from “the general rule

favor[ing] the forum of the first-filed suit,” see Schwarz, 317 F. Supp. 2d at 832, the Court declines

to dismiss or stay the claims of Capers, Grossberg, or Couch.

       D.      Motion to Transfer

       While the filing order of duplicative actions factors into the transfer analysis, “[t]he

statutory language [in 28 U.S.C. § 1404(a)] provides the ultimate touchstone.” Rsch. Automation,

626 F.3d at 982. “For the convenience of parties and witnesses, in the interest of justice, a district



                                                   25
  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 26 of 44 PageID #:4486




court may transfer any civil action to any other district or division where it might have been

brought . . . .” 28 U.S.C. § 1404(a); In re Ryze Claims Sols., LLC, 968 F.3d 701, 707 (7th Cir.

2020). The Court may, in its discretion, transfer the case (or part of the case) to another district if:

“(1) venue is proper in the transferor district; (2) venue is proper in the transferee district; (3) the

transfer will serve the convenience of the parties and witnesses; and (4) the transfer will serve the

interests of justice.” Hanover Ins. Co. v. N. Bldg. Co., 891 F. Supp. 2d 1019, 1025 (N.D. Ill. 2012);

see also Fed. R. Civ. P. 21. The movant, here State Farm, bears the burden of showing “that the

transferee forum is clearly more convenient.” Coffey v. Van Dorn Iron Works, 796 F.2d 217, 219–

20 (7th Cir. 1986). The parties do not dispute the propriety of venue in this District or in the ten

other districts. So the Court turns to convenience and the interests of justice.

                  1. Convenience

        “In evaluating the convenience of the parties and witnesses, courts weigh the following

factors: (1) the plaintiff’s choice of forum; (2) the situs of the material events; (3) the relative ease

of access to sources of proof; (4) the convenience of the witnesses; and (5) the convenience to the

parties of litigating in the respective forums.” Kjaer Weis v. Kimsaprincess Inc., 296 F. Supp. 3d

926, 930 (N.D. Ill. 2017) (quotation omitted); accord Rsch. Automation, 626 F.3d at 978.

        Plaintiffs’ choice of forum deserves deference. Usually, a plaintiff’s choice of forum

receives “substantial deference.” AL & PO Corp. v. Am. Healthcare Cap., Inc., 2015 WL 738694,

at *2 (N.D. Ill. Feb. 19, 2015); see also In re Nat’l Presto Indus., Inc., 347 F.3d 662, 664 (7th Cir.

2003) (“[U]nless the balance is strongly in favor the defendant, the plaintiff’s choice of forum

should rarely be disturbed.” (quoting Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508 (1947))); Rsch.

Automation, 626 F.3d at 979 (“[A] plaintiff’s choice of forum is afforded deference so long as the

chosen forum is related to the case.”); Atl. Marine. Constr. Co. v. U.S. Dist. Ct. for W. Dist. of



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  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 27 of 44 PageID #:4487




Tex., 571 U.S. 49, 63 (2013) (observing that “plaintiffs are ordinarily allowed to select whatever

forum they consider most advantageous”).

       But courts often give less deference to a putative nationwide class representative’s choice

of forum. See, e.g., Kahn v. Target Corp., 2023 WL 2306940, at *2 (N.D. Ill. Mar. 1, 2023)

(“[C]ourts greatly discount the weight given to a plaintiff’s choice of forum in putative class

actions, particularly when a nationwide class is alleged . . . .”); Ratliff v. Venture Express, Inc.,

2019 WL 1125820, at *10 (N.D. Ill. Mar. 12, 2019) (finding deference to the plaintiff’s choice of

forum “is somewhat diminished” in a putative nationwide class action); Georgouses v. NaTec Res.,

Inc., 963 F. Supp. 728, 730 (N.D. Ill. 1997) (“[B]ecause plaintiff alleges a class action, plaintiff’s

home forum is irrelevant.”); see also 15 Charles Alan Wright et al., Federal Practice and Procedure

§ 3848 (4th ed. 2023) (“[W]here the plaintiff seeks to vindicate rights of others the plaintiff’s venue

preference is weakened.”). On the other hand, some courts have found that deference remains

appropriate in the class-action context. See AL & PO, 2015 WL 738694, at *3 (“[U]nnamed class

members benefit from the class representative being able to aggressively litigate without

significant inconvenience due to travel.”); Dale v. Deutsche Telekom AG, 2022 WL 6123365, at

*3 (N.D. Ill. Oct. 7, 2022) (“The nationwide class . . . presumably benefits from any lessened

burden imposed on their representatives.”); O’Connor v. RealPage Inc., 2022 WL 1487374, at *2–

3 (N.D. Ill. May 11, 2022) (finding a plaintiff’s “potential representation of two largely Illinois-

based subclasses” in a putative nationwide class action “weighs against transfer”).

       Plaintiffs hail from thirty-three jurisdictions including Illinois. And they seek to represent

a nationwide class. Naturally, “any venue selection is bound to be inconvenient to some plaintiffs.”

Jaramillo v. DineEquity, Inc., 664 F. Supp. 2d 908, 914 (N.D. Ill. 2009); accord Obento Unlimited

v. qMenu Inc., 2021 WL 4264374, at *3 (N.D. Ill. Sept. 20, 2021). Nor is there any indication that



                                                  27
  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 28 of 44 PageID #:4488




the Plaintiffs who State Farm seeks to transfer would play a more active role in this litigation than

any other named Plaintiff; so their convenience is not paramount in weighing the choice of forum.

Cf. AL & PO, 2015 WL 6123365, at *3. Since State Farm is headquartered in Illinois, however,

this forum has an obvious connection to the case, which justifies deferring to Plaintiffs’ choice.

Rsch. Automation, 626 F.3d at 979. Thus, Plaintiffs’ freedom to choose an advantageous forum

weighs against transfer.

       Next, the situs of material events also weighs against transfer—but only slightly. The

location of material events underlying an alleged breach of an insurance contract include “where

the business decisions leading up to and causing the breach occurred” and “the location of

performance or non-performance under the contract.” Cont’l Cas. Co. v. Staffing Concepts, Inc.,

2009 WL 3055374, at *4 (N.D. Ill. Sept. 18, 2009) (citations omitted). In putative class actions

sounding in fraud, courts pin down the situs of material events by focusing on the defendant’s

conduct. See, e.g., Preston v. Am. Honda Motor Co., 2017 WL 5001447, at *3 (N.D. Ill. Nov. 2,

2017) (citing Jaramillo, 664 F. Supp. 2d at 914); Gierwatowski v. Trader Joe’s Co., 2021 WL

2660760, at *1 (N.D. Ill. June 29, 2021). The place where the insurance policies were “solicited,

negotiated, delivered, and executed” is also relevant to an insurance dispute. Econ. Preferred Ins.

Co. v. Lamb, 2022 WL 1556115, at *6 (N.D. Ill May 17, 2022) (quoting Hartford Cas. Ins. Co. v.

Topsail Sportswear, Inc., 2010 WL 2757556, at *2 (N.D. Ill. July 8, 2010)).

       Plaintiffs contend that State Farm devised “an enterprise-wide scheme to defraud its

insureds” and drafted the underlying insurance policies in Illinois. (Dkt. 74 at 11; Dkt. 58 ¶¶ 61–

62). Since State Farm’s policy-drafting and decision-making occurred at its Illinois headquarters,

Illinois is a situs of material events. Pointing elsewhere, however, is State Farm’s assertion that it

adjusted and settled Plaintiffs’ total-loss claims at its regional offices throughout the country. (Dkt.



                                                  28
  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 29 of 44 PageID #:4489




79 at 6). Likewise, Plaintiffs bought their policies, settled their claims, and received payments in

their home states. (Id.; Dkt. 63 at 10; Dkt. 58 ¶¶ 13, 17, 21, 23, 25–26, 32, 36, 40–41). These are

material events too, which occurred throughout the country. Accordingly, the situs of material

events weighs slightly against transfer.

       The relative ease of access to sources of proof is not a significant consideration here. See,

e.g., Preston, 2017 WL 5001447, at *4 (noting that “[t]he location of records typically has little

impact on the transfer analysis” (citing AL & PO, 2015 WL 738694, at *3)). The documentary

evidence, in Illinois and elsewhere, is easy to transfer. See, e.g., Bull v. Ill. Union Ins. Co.,

2017 WL 3234374, at *5 (N.D. Ill. July 31, 2017). So this factor is a wash.

       Finally, the witnesses’ and parties’ convenience is neutral too. Courts give more weight to

the convenience of non-party witnesses than to the defendant’s employee witnesses, who tend to

appear voluntarily. E.g., AL & PO, 2015 WL 738694, at *4; Kahn, 2023 WL 2306940, at *3. The

parties agree that there are unspecified witnesses in Illinois—presumably all State Farm

employees. (Dkt. 74 at 11; Dkt. 79 at 6). Although Audatex, a likely third-party witness, is based

in Texas, that does not favor transfer to any of the ten transferee forums (none of which are Texas).

More importantly, a transfer would not be more or less convenient to Audatex or any other

witnesses because this action will proceed regardless. For the same reason, transferring some

Plaintiffs’ claims would not convenience State Farm: either way, it will be litigating in eleven

forums. Although the ten Plaintiffs could benefit from litigating in their home states, their

convenience is not a significant consideration because they are likely replaceable in their roles as

class representatives. See, e.g., Dale, 2022 WL 6123365, at *5.

       On balance, the convenience factors weigh against transfer.




                                                 29
  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 30 of 44 PageID #:4490




                 2. Interests of Justice

       The interests of justice, nonetheless, require transferring six of the ten Plaintiffs’ claims.

See Coffey, 796 F.2d at 220 (explaining that the interests of justice “may be determinative in a

particular case, even if the convenience of the parties and witnesses might call for a different

result”). Specifically, the Court transfers: (1) Brown’s claims to the Western District of Louisiana;

(2) Bowden’s claims to the Western District of Tennessee; (3) Payne’s claims to the District of

South Carolina; (4) McConnell’s claims to the Eastern District of Arkansas; (5) Huff’s claims to

the Southern District of Georgia; and (6) Robert’s claims to the Southern District of Ohio. The

remaining Plaintiffs’ claims will stay put for now.

       The interests of justice include “ensuring speedy trials, trying related litigation together,

and having a judge who is familiar with the applicable law try the case.” Heller Fin., Inc. v.

Midwhey Powder Co., 883 F.2d 1286, 1293 (7th Cir. 1989) (citing Coffey, 796 F.2d at 221). In

weighing the interests of justice, the Court does not consider the merits of the underlying claims.

Coffey, 796 F.2d at 221. Instead, the Court focuses on the public’s interest in conserving scarce

judicial resources by “efficient administration of the court system.” Id. “[T]o permit a situation in

which two cases involving precisely the same issues are simultaneously pending in different

District Courts leads to the wastefulness of time, energy and money that § 1404(a) was designed

to prevent.” Ferens v. John Deere Co., 494 U.S. 516, 531 (1990) (quoting Cont’l Grain Co. v.

FBL-585, 364 U.S. 19, 26 (1960)); De Falco v. Vibram USA, Inc., 2013 WL 1122825, at *10 (N.D.

Ill. Mar. 18, 2013).

       With eleven pending duplicative actions at various stages, waste of time and effort appears

inevitable: this Court and ten other district courts will preside over motion practice and discovery,

and ultimately, resolve overlapping claims based on similar facts. Yet, transferring some Plaintiffs’



                                                 30
  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 31 of 44 PageID #:4491




claims will not solve that problem. Transfer or not, this case will go on. Neither does familiarity

with applicable law weigh heavily here. True, the ten other district courts are more familiar with

the laws of their forum states. But federal courts are well-versed in applying other states’ laws. See

De Falco, 2013 WL 1122825, at *11 n.10 (citing Miller v. SKF USA, Inc., 2010 WL 5463809, at

*3 (N.D. Ill. Dec. 29, 2010)).

       Nonetheless, Shields, Clippinger, Wiggins, Chadwick, Cudd, and Nichols are too far

advanced to justify retaining jurisdiction over the claims of Brown, Bowden, Payne, McConnell,

Huff, and Robert—whose interests will be represented in those duplicative actions. Beyond

increasing the likelihood of speedier trials for those six Plaintiffs, transferring their claims will

avoid an immediate danger of inconsistent rulings. The Shields court already certified a class, of

which Brown is a member. Shields, 2022 WL 37347, appeal pending 22-30126 (5th Cir. Mar. 14,

2023). There is no need for her to represent a class in this case while a competing class grows

closer to achieving the same relief on her behalf. And in Chadwick, the district court denied State

Farm’s motion to dismiss for failure to state a claim in July 2022. Chadwick, 2022 WL 18779022.

McConnell is a member of that putative class, which will likely reach the certification stage before

this one.

       In Clippinger and Wiggins, the district courts denied State Farm’s motions to dismiss or

for summary judgment while compelling those plaintiffs to submit to appraisal. Clippinger,

2021 WL 4887984; Wiggins, 2022 WL 2276556. Bowden and Payne respectively, are members

of those putative classes—both of which are also closer to certification than this one. In Cudd, the

district court dismissed the complaint without prejudice because of the plaintiff’s failure to comply

with his policy’s appraisal clause. Cudd, 2022 WL 16541166, appeal docketed, No. 22-13916

(11th Cir. Nov. 23, 2022). Conversely, the Nichols court denied State Farm’s motion to dismiss



                                                 31
   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 32 of 44 PageID #:4492




and refused to compel appraisal. Nichols, 2022 WL 6671695. Nichols (applying Ohio law) is out

of step with the three other decisions. Meanwhile, Cudd (Georgia law) parted ways with

Clippinger (Tennessee law) and Wiggins (South Carolina law) by dismissing the complaint,

although all three district courts enforced the arbitration clause. Of course, since Cudd is pending

appeal, the Eleventh Circuit could reach a different conclusion.

         In short, if Bowden, Payne, Huff, and Robert remain in this action, this Court’s ruling on

State Farm’s motion to compel appraisal could easily be inconsistent with a parallel court’s ruling.

At best, this Court would waste time and effort redoing the work of other courts. At worst—

considering the laws of these Plaintiffs’ home states might control 19—there could be conflicting

interpretations of the appraisal clause under Ohio, Georgia, Tennessee, or South Carolina law. The

danger of inconsistent rulings would become more severe if this Court and any parallel courts were

to certify overlapping classes.

         As to Gulick, Varela, Muhammad, and Schmidt, the interests of justice do not overcome

the weight of the convenience factors against transfer. Varela, Muhammad, and Schmidt began

after this case. Gulick began only a few months before this case, and the Court “does not rigidly

adhere to a first-to-file rule.” See Rsch. Automation, 626 F.3d at 980. Muhammad, Schmidt, and

Gulick are all moving behind this case. Although the Varela court ruled on State Farm’s motion to

dismiss four months ago, that action is not significantly ahead of this one. Varela, 2023 WL

1971753. Since Varela’s dismissal of certain claims did not interpret an appraisal clause, the

dangers of duplicating effort and reaching inconsistent rulings are, for now, less pressing.




19
   Plaintiffs’ policies include choice-of-law clauses pointing to their home states. (Dkt. 58-1 at 282, 405; Dkt. 68-3 at
11; Dkt. 68-13 at 13). In Illinois, forum law applies “unless an actual conflict with another state’s law is shown, or the
parties agree that forum law does not apply.” Gunn v. Cont’l Cas. Co., 968 F.3d 802, 808 (7th Cir. 2020) (citation
omitted). Yet, in the event of a conflict, “Illinois courts usually enforce contractual choice-of-law provisions.”
NewSpin Sports, LLC v. Arrow Elecs., Inc., 910 F.3d 293, 300 (7th Cir. 2018) (citation omitted).

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   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 33 of 44 PageID #:4493




        Thus, State Farm’s motion to transfer is granted in part. Pursuant to Rule 21, the Court

severs the claims of Plaintiffs Brown, Bowden, Payne, McConnell, Huff, and Robert. Under

28 U.S.C. § 1404(a), the Court transfers: (1) Brown’s claims to the Western District of Louisiana;

(2) Bowden’s claims to the Western District of Tennessee; (3) Payne’s claims to the District of

South Carolina; (4) McConnell’s claims to the Eastern District of Arkansas; (5) Huff’s claims to

the Southern District of Georgia; and (6) Robert’s claims to the Southern District of Ohio. State

Farm’s motion to transfer is denied as to Benson, Couch, Capers, and Grossberg.

II.     Motion to Compel Appraisal, Dismiss, or Grant Summary Judgment

        The Court next considers State Farm’s motion to compel appraisal, dismiss, or grant

summary judgment as to Lewis (Florida), Cervantes-White (Hawaii), Munoz (Illinois), Snyder

(Maryland), Couch (Michigan), Dean (Mississippi), Dacheff (Missouri), Newkirk (New York),

Smiling (North Carolina), and Dewsnup (Utah). 20

        A.       Enforceability and Scope of Appraisal Clause

        Federal courts sitting in diversity interpret insurance policies under state law. Nat’l Am.

Ins. Co. v. Artisan & Truckers Cas. Co., 796 F.3d 717, 723 (7th Cir. 2015). In deciding which

state’s law to apply, courts “look to the choice-of-law rules of the forum state”—here, Illinois.

Paulsen v. Abbot Lab’ys, 39 F.4th 473, 477 (7th Cir. 2022) (quoting Sosa v. Onfido, Inc., 8 F.4th

631, 637 (7th Cir. 2021)). Illinois choice-of-law principles dictate that forum law applies “unless

an actual conflict with another state’s law is shown, or the parties agree that forum law does not

apply.” Id. (quoting Gunn, 968 F.3d at 808)). “A choice-of-law determination is required only

when a difference in law will make a difference in the outcome” Sosa, 8 F.4th at 637 (quoting

Bridgeview Health Care Ctr., Ltd. v. State Farm Fire & Cas. Co., 10 N.E.3d 902, 905 (Ill. 2014)).


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            With respect to Huff, Robert, Payne, and Bowden, the motion is moot because their claims are severed and
transferred.

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  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 34 of 44 PageID #:4494




This is true even where even where a party relies on a contractual choice-of-law provision, as State

Farm does here. (Dkt. 66 at 5; Dkt. 77 at 4 & n.5); see Sosa, 8 F.4th at 637–38; Dancor Constr.,

Inc. v. FXR Constr., Inc., 64 N.E.3d 796, 812–13 (Ill. App. Ct. 2016); Hartford v. Burns Int’l Sec.

Servs., Inc., 526 N.E.2d 463, 464 (Ill. App. Ct. 1988). As “[t]he party seeking the choice-of-law

determination,” State Farm bears the burden of demonstrating a conflict.” Sosa, 8 F.4th at 637

(quoting Bridgeview, 10 N.E.3d at 905).

        The choice-of-law clauses in Plaintiffs’ policies point to the laws of their respective home

states. Illinois courts honor contractual choice-of-law clauses unless doing so would contradict the

public policy of the chosen state or another state with a “materially greater interest in the dispute.

Hendricks v. Novae Corp. Underwriting, Ltd., 868 F.3d 542, 545 (7th Cir. 2017) (citing Fulcrum

Fin. Partners v. Meridian Leasing Corp., 230 F.3d 1004, 1011 (7th Cir. 2000), and quoting Int’l

Surplus Lines Ins. Co v. Pioneer Life Ins. Co. of Ill., 568 N.E.2d 9, 14 (Ill. App. Ct. 1990)); see

also Fulcrum, 230 F.3d at 1011 (“Illinois respects the contract’s choice-of-law clause as long as

the contract is valid and the law chosen is not contrary to Illinois’s fundamental public policy.”

(citations omitted)). No public-policy contradictions require ignoring the choice-of-law clauses.

Nonetheless, because State Farm has not demonstrated any actual conflict between the laws of

Illinois and the nine other states, Illinois law applies.




                                                   34
   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 35 of 44 PageID #:4495




         Variations among Plaintiffs’ home states’ laws do not affect the outcome. In all ten

Plaintiffs’ home states, appraisal clauses are enforceable. 21 Many of these states favor appraisal. 22

Missouri, and Utah, by contrast, are on the appraisal-averse end of the spectrum. 23 But even in the

most appraisal-averse states, courts compel appraisal where: (1) the appraisal clause’s language is

unambiguous, and (2) the dispute falls within the clause’s scope. 24 In states favoring and


         21
             Wright Way Emergency Water Removal, LLC v. Mt. Hawley Ins. Co., 2016 WL 9526569, at *2 (M.D. Fla.
July 29, 2016) (citing Fla. Ins. Guar. Ass’n., Inc. v. Castilla, 18 So. 3d 703, 704 (Fla. Dist. Ct. App. 2009), among
other state-court decisions); Mauna Kea Hotel Corp. v. Affiliated FM Ins. Co., 2008 WL 11345955, at *2 (D. Haw.
Mar. 7, 2008) (citing Christiansen v. First Ins. Co. of Haw., Ltd., 967 P.2d 639, 649 (Haw. Ct. App. 1998), aff’d in
part and rev’d in part on other grounds, 963 P.2d 345 (Haw. 1998)); Lundy v. Farmers Grp., Inc., 750 N.E.2d 314,
318 (Ill. App. Ct. 2001); Aetna Cas. & Sur. Co. v. Ins. Comm’r, 445 A.2d 14, 21 (Md. 1982); UrbCamCom/WSU I,
LLC v. Lexington Ins. Co., 2014 WL 1652201, at *3–4 (E.D. Mich. Apr. 23, 2014); City of Laurel v. ARGO GRP. US,
2009 WL 11220, at *2 (S.D. Miss. Jan. 14, 2009) (citing cases including Hartford Fire Ins. Co. v. Conner, 79 So. 2d
236 (Miss. 1955)); CNS Corp. v. Glob. Aerospace, Inc., 2010 WL 2978063, at *5 (E.D. Mo. July 30, 2010) (citing
cases including Dworkin v. Caledonian Ins. Co., 226 S.W. 846 (Mo. 1920)); Quick Response Comm. Div. v. Cincinnati
Ins. Co., 2015 WL 5306093, at *2–3 (N.D.N.Y. Sept. 10, 2015) (citing Amerex Grp., Inc. v. Lexington Ins. Co.,
678 F.3d 193, 199 (2d Cir. 2012)); New Bern Golf & Country Club, Inc. v. Underwriters at Lloyd’s London, 2020 WL
1958631, at *2 (E.D.N.C. Apr. 23, 2020) (citing Gaston Cnty. Dyeing Mach. Co. v. Northfield Ins. Co., 524 S.E.2d
558, 562 (N.C. 2000)); Miller v. USAA Cas. Ins. Co., 44 P.3d 663, 675 (Utah 2002).
          22
             See, e.g., Lundy, 750 N.E.2d at 319 (observing Illinois law disfavors waiver of an appraisal right “because
of the public policy preference for conserving judicial resources through arbitration or appraisal”); Mauna Kea,
2008 WL 11345955, at *2–3 (explaining that Hawaii law construes binding appraisal clauses as arbitration
agreements, covered by the Federal Arbitration Act (FAA), and requires “due regard” for “the federal policy favoring
arbitration” (citing Wailua Assocs. v. Aetna Cas. & Sur. Co., 904 F. Supp. 1142, 1148–49 (D. Haw. 1995), and quoting
Volt Info. Scis., Inc. v. Bd. of Trs. of Leland Stanford Junior Univ., 489 U.S. 468, 476 (1989))); Aetna Cas. & Sur. Co.
v. Ins. Comm’r, 445 A.2d at 420 (observing Maryland legislative policy favoring appraisal agreements); UrbCamCom,
2014 WL 1652201, at *3 (“When the amount of loss is in dispute, the appraisal process is preferred over judicial
determination because it is ‘a simple and inexpensive method for the prompt adjustment of settlement claims.’”
(quoting Auto-Owners Ins. Co. v. Kwaiser, 476 N.W.2d 467, 486 (Mich. Ct. App. 1991))); ARGO, 2009 WL 112220,
at *2 (“Mississippi law favors amicable settlements of controversies without court involvement.” (citing Mitchell v.
Aetna Cas. & Sur. Co., 579 F.2d 342, 350 (5th Cir. 1978))); Amerex Grp., 678 F.3d at 199 (“New York public policy
favors an appraisal proceeding over a trial on damages.” (quotation omitted).
          23
             See CNS, 2010 WL 2978063, at *5 (explaining that arbitration clauses are unenforceable under Missouri
law, including arbitration clauses “in disguise” as appraisal clauses); Miller, 44 P.3d at 674 (“[Utah] policy is to
resolve doubts in favor of permitting parties to have their day in court on the merits of a controversy.” (quoting
Celebrity Club, Inc. v. Utah Liquor Control Comm’n, 657 P.2d 1293, 1296 (Utah 1982) (cleaned up))); see also Wexler
v. Chubb Nat’l Ins. Co., 2022 WL 888944, at *6 (N.D. Ill. Mar. 25, 2022) (“[Illinois] common law placed great
importance upon the individual’s right to seek redress in court . . . .” (quoting DeGroot v. Farmers Mut. Hail Ins. Co.
of Iowa, 643 N.E.2d 875, 876 (Ill. App. Ct. 1994))).
          24
             E.g., 70th Ct. Condo Ass’n v. Ohio Sec. Ins. Co., 2016 WL 6582583, at *4 (N.D. Ill. Nov. 7, 2016) (citing
Travis v. Am. Mfrs. Mut. Ins. Co., 782 N.E.2d 322, 325–26 (Ill. App. Ct. 2002)); see also Wright Way, 2016 WL
9526569, at *2 (“[M]otions to compel arbitration should be granted whenever the parties have agreed to the provision.”
(citing Preferred Mut. Ins. Co. v. Martinez, 643 So. 2d 1101, 1102 (Fla. Dist. Ct. App. 1994))); Mauna Kea, 2008 WL
11345955, at *2–3 (explaining that compelling appraisal is proper where the appraisal clause is binding and covers
the dispute); Aetna Cas. & Sur. Co. v. Ins. Comm’r, 445 A.2d at 19–20 (requiring compelling appraisal according to
the appraisal clause’s plain meaning); UrbCamCom, 2014 WL 1652201, at *3–4 (compelling appraisal is appropriate
subject to the clause’s scope); ARGO, 2009 WL 112220, at *2 (“It is the duty of both parties to an insurance contract
which provides for a submission to an appraisal of the question of the amount of loss or damages, to act in good faith

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   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 36 of 44 PageID #:4496




disfavoring appraisal, courts routinely refuse to compel appraisal of disputes over causation or

insurance-policy coverage. 25 General policy differences aside, the Court perceives no actual

conflict between the laws of Illinois and any of the other home states.

         Here, the appraisal clause is clear as day. The insured and State Farm “must agree upon the

actual cash value,” and upon the insured’s or State Farm’s written request, any “disagreement as

to the actual cash value . . . will be resolved by appraisal.” (E.g., Dkt. 58-1 at 12 (emphasis added)).

“A written appraisal . . . will be binding” on the insured and State Farm. (Id. (emphasis added)).

Underscoring the mandatory effect of the appraisal clause, the insured’s compliance with a proper

appraisal demand is a prerequisite to seeking relief in court. (See Dkt. 58-1 at 15 (“Legal action

may not be brought against us until there has been full compliance with all the provisions of the

policy.” (emphasis added)). Plaintiffs thus agreed to resolve actual-cash-value disputes through

binding appraisal at State Farm’s request before suing in court. That agreement is mandatory and

enforceable—at least to the extent Plaintiffs dispute the actual cash values of their vehicles.




and to make a fair effort to carry out such an agreement and accomplish its object.” (citing Conner, 79 So. 2d at 239));
Cincinnati Ins. Co. v. Saint Louis Produce Markets, Inc., 2020 WL 5848075, at *2–3 (E.D. Mo. Oct. 1, 2020)
(compelling appraisal is only proper when the dispute is within the appraisal clause’s scope—and not to determine a
policy’s coverage); Quick Response, 2015 WL 5306093, at *3–4 (courts must compel appraisal as to a dispute within
the appraisal clause’s scope (citing Zarour v. Pac. Indem. Co., 2015 WL 4385758, at *3 (S.D.N.Y. July 6, 2015), and
Amerex. Grp., 678 F.3d at 206)); Church Mut. Ins. Co. v. Murfreesboro United Methodist Church, 2022 WL 3974186,
at *2–3 (E.D.N.C. Aug. 31, 2022) (courts must enforce appraisal clauses according to their terms, but appraisers
cannot resolve causation or coverage issues (citations omitted)); Miller, 44 P.3d at 676–77 (compelling appraisal is
proper where the appraisal clause is unambiguous and to the extent the claims fall within the clause’s scope).
         25
            See, e.g., Amerex Grp., 678 F.3d at 205 (under New York law, “an appraiser may not resolve coverage
disputes or legal questions regarding the interpretation of the policy”); New Bern, 2020 WL 1958631, at *3–4 (“North
Carolina law does not empower appraisers to make causation or coverage determinations.” (quotation omitted)); Olga
Despotis Tr. v. Cincinnati Ins. Co., 867 F.3d 1054, 1060 (8th Cir. 2017) (“[A]ppraisal provisions in an insurance
policy apply only if the dispute between the parties relates to the amount of the loss and not coverage.” (quoting Am.
Fam. Mut., Ins. Co. v. Dixon, 450 S.W.3d 831, 836 (Mo. Ct. App. 2014))); Saint Louis, 2020 WL 5848075, at *2–3
(under Missouri law, a court cannot compel appraisal of a coverage dispute, nor a valuation dispute which is
“incidental to the actual underlying legal controversy . . . as to the meaning of the insurance contract and its application
to the facts.” (quoting Hawkinson Tread Tire Serv. Co. v. Ind. Lumbermens Mut. Ins. Co. of Indianapolis, Ind.,
245 S.W.2d 24, 28 (Mo. 1951))); see also Travis, 782 N.E.2d at 325 (“[W]here the parties’ dispute does not fall within
the scope of [the appraisal] agreement, the trial court may not compel it.” (citing Roubik v. Merrill Lynch, Pierce,
Fenner & Smith, Inc., 692 N.E.2d 1167, 1172 (Ill. 1998))).

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  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 37 of 44 PageID #:4497




        Certainly, State Farm’s valuation of Plaintiffs’ vehicles is relevant to their claims. In their

claims for breach of contract, breach of good faith and fair dealing, and declaratory judgment,

Plaintiffs allege that State Farm failed to pay actual cash value. (Id. at ¶¶ 98–99, 107, 147). But

Plaintiffs’ claims involve “much more than a dispute over the actual cash value[s] of [their]

vehicle[s].” Travis, 782 N.E.2d at 326; accord Hanke v. Am. Int’l S. Ins. Co., 782 N.E.2d 328, 332

(Ill. App. Ct. 2002).

        Under similar circumstances, the Illinois Appellate Court refused to compel appraisal in

Travis v. American Manufacturers Mutual Insurance Co., 782 N.E.2d 322, and Hanke v. American

International South Insurance Co., 782 N.E.2d 328. Both cases interpreted appraisal clauses like

the one here, providing: “If we and you do not agree on the amount of loss, either may demand an

appraisal of the loss.” Travis, 782 N.E.2d at 326; Hanke, 782 N.E.2d at 330; see also (Dkt. 58-1 at

12 (“If there is disagreement as to the actual cash value of the covered vehicle, then the

disagreement will be resolved by appraisal upon written request of the owner or us . . . .”)). The

insured plaintiffs alleged the defendant insurers “engaged in . . . fraudulent scheme[s] to

undervalue insureds’ vehicles that are declared a total loss, in order to increase [their] own profits.”

Travis, 782 N.E.2d at 327; Hanke, 782 N.E.2d at 332. Their claims focused on whether the insurers

breached the insurance policies through their fraud. Travis, 782 N.E.2d at 327; Hanke, 782 N.E.2d

at 332. The insureds in Travis and Hanke further alleged that the insurers used the appraisal clauses

as part of their fraudulent schemes: since “the disputed amount [was] virtually always worth less

than the cost of pursuing an appraisal,” the appraisal clauses prevented the insureds “from

effectively vindicating their statutory and common law causes of action.” Travis, 782 N.E.2d at

327; Hanke, 782 N.E.2d at 332.




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  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 38 of 44 PageID #:4498




       These allegations, the Appellate Court ruled, presented “much more than a

disagreement . . . concerning the actual cash value of the vehicle[s].” Travis, 782 N.E.2d at 327;

Hanke, 782 N.E.2d at 332 (emphasizing that compelling appraisal would force the insured “to go

through the allegedly fraudulent appraisal process, expending more money than he could ever hope

to recover, in order to file any complaint alleging fraud in that very same process”); see also Lundy,

750 N.E.2d at 319 (interpreting a similar appraisal clause, rejecting the insurer’s argument “that

the amount of loss [was] a threshold issue,” and explaining that “a determination of whether [the

insurer] misrepresented to its policyholders the quality of repair parts that [it] would pay for under

its policies” required interpreting the policy language, which appraisal could not resolve).

       Travis and Hanke are instructive here. Plaintiffs allege State Farm’s use of the typical-

negotiation adjustment “systematically undervalues total-loss vehicles.” (Dkt. 58 ¶ 1). State

Farm’s purported fraudulent scheme is central to Plaintiffs’ statutory and common-law fraud

claims. (See id. at ¶¶ 81–92, 113–28, 131–34, 264–74, 282–92, 353–62, 456–66, 473–83).

Plaintiffs allege State Farm deceived insureds by failing to disclose its use of the typical-

negotiation adjustment. Likewise, as to Plaintiffs’ unjust-enrichment claims—alleging State Farm

concealed its application of the typical-negotiation adjustment to “reduce its total-loss payments

to insureds”—the concealment allegation raises more than an actual-cash-value dispute. (See id.

at ¶ 141). The appraisal clause itself, Plaintiffs assert, is “[a]n integral part of [State Farm’s]

fraudulent scheme” because the costs of appraisal pressure insureds to accept underpayment and

prevent them from “vindicating their statutory and common law rights.” (Id. at ¶¶ 6, 57). Although

Plaintiffs allege their actual “damages include the amounts improperly deducted by [State Farm]

from their payments to insureds” using the typical-negotiation adjustment, (Id. at ¶ 108), Plaintiffs

also seek statutory and punitive damages based on the alleged fraud and statutory violations. (Id.



                                                 38
   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 39 of 44 PageID #:4499




at ¶ 637). Plaintiffs’ allegations therefore raise issues far beyond a dispute over actual cash value.

See Travis, 782 N.E.2d at 327.

        State Farm’s arguments against Travis and Hanke are unpersuasive. State Farm relies on

Kinkel v. Cingular Wireless, LLC, which compelled arbitration under a cellphone-service contract.

828 N.E.2d 812, 815–18 (Ill. App. Ct. 2005). Distinguishing Travis and Hanke, the Illinois

Appellate Court noted, the allegation “that the appraisal clause was part of a fraudulent scheme”

was not “central to our holding.” Id. at 816. Rather, key to the Travis and Hanke decisions was

“that the issues could not be resolved through the appraisal process.” Id. (citing Hanke, 782 N.E.2d

at 332, and Travis, 782 N.E.2d at 327). The arbitration clause in Kinkel, by contrast, was “clearly

broader”: it applied to “any and all disputes” under the contract. Id. at 817. Arbitrators, unlike

appraisers, can decide “the same types of questions courts regularly decide.” Id. (citing Green Tree

Fin. Corp. v. Bazzle, 539 U.S. 444, 453 (2003), and Lundy, 750 N.E.2d at 319). Of course, this

case is much closer to Travis and Hanke than Kinkel. State Farm’s appraisal clause does not give

the appraiser power to answer questions this Court could—including whether State Farm engaged

in fraud by applying the typical-negotiation adjustment and failing to disclose that practice to

insureds.

        Most of State Farm’s remaining citations are to decisions compelling appraisal under the

laws of states other than Plaintiffs’ home states. 26 Those decisions in parallel actions against State

Farm—Cudd, Wiggins, and Clippinger—are distinguishable: none challenged State Farm’s use of



        26
           (Dkt. 66 at 6–7; Dkt. 77 at 3 n.4); see Cudd, 2022 WL 1654116, at *2 (Georgia law); Wiggins, 2022 WL
2276556, at *3 (South Carolina law); Clippinger, 2021 WL 4887984, at *4 (Tennessee law); Urbassik v. Am. Fam.
Mut. Ins. Co., 2023 WL 2185973, at *4 (N.D. Ohio Feb. 23, 2023) (Ohio law); Enger v. Allstate Ins. Co., 407 F. App’x
191, 193 (9th Cir. 2010) (California law); Garner v. State Farm Mut. Auto. Ins. Co., 2008 WL 2620900, at *6 (N.D.
Cal. June 30, 2008) (California law); Phillips v. Garrison Prop. & Cas., 2020 WL 3118415, at *10, 20 (N.D. Ala.
May 12, 2020) (applying Alabama law and disagreeing with Travis and Hanke); Moore v. Travelers, 321 F. App’x
911, 913 (11th Cir. 2009) (Alabama law); Cuadros v. State Farm Fire & Cas. Co., 2014 WL 7338945, at *3–4 (D.
Nev. Dec. 23, 2014) (Nevada law).

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   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 40 of 44 PageID #:4500




the typical-negotiation adjustment as a fraudulent scheme. 27 Only Garner (California law) and

Cuadros (Nevada law) appear at odds with Illinois law. 28 Any conflicts between the laws of Illinois

and states other than Plaintiffs’ home states are immaterial. Similarly unconvincing are State

Farm’s citations to two Florida district-court decisions compelling appraisal. 29 These decisions

under Florida law do not reflect an actual conflict with Illinois law.

         State Farm argues further that Travis and Hanke do not apply because Plaintiffs’ policies

make appraisal a precondition of filing suit. (Dkt. 77 at 5 & n.6). This argument fails too. Nothing

in Travis or Hanke suggests that the result hinged on the absence of precondition language in the

policies. What mattered in those cases, as here, is that the disputes were beyond the scope of

appraisal. Since Plaintiffs’ claims fall outside the appraisal clause, their refusal to submit to

appraisal is not a failure of compliance with their policies. Thus, appraisal is not a prerequisite to

bringing the claims in this lawsuit.




         27
             See Cudd, 2022 WL 1654116, at *4 (plaintiff “only alleges two independent substantive claims: one for
breach of the insurance contract, and another for unjust enrichment . . . . He has alleged no cause of action for fraud”);
Wiggins, 2022 WL 2276556, at *1 (breach of contract and declaratory judgment); Clippinger, 2021 WL 4887984, at
*1 (breach of contract, breach of covenant of good faith and fair dealing, and declaratory judgment); Urbassik,
2023 WL 2185973, at *1 (breach of contract, breach of covenant of good faith and fair dealing, and declaratory
judgment); Enger, 407 F. App’x at 193 (breach of contract, breach of covenant of good faith and fair dealing, and
violation of California statute); Phillips, 2020 WL 3118415, at *20 (distinguishing Travis and Hanke based on the
absence of fraud claims); Moore, 321 F. App’x at 912 (breach of contract); see also Garner, 2008 WL 2620900, at *3
(breach of contract, breach of covenant of good faith and fair dealing, unjust enrichment, and violation of California
statute).
          28
             The Garner court observed the presence of issues exceeding the scope of appraisal but distinguished Travis
and Hanke based on California’s more “favorable treatment of appraisal provisions.” Garner, 2008 WL 2620900, at
*6–8. Cuadros compelled appraisal despite the plaintiff’s claims of deceptive trade practices, fraudulent
misrepresentation, and negligence in addition to contract-based claims. Cuadros, 2014 WL 7338945, at *1.
          29
             (See Dkt. 77 at 3 n.4); Bettor v. Esurance Prop. & Cas. Ins. Co., 2019 WL 2245564 (S.D. Fla. Mar. 28,
2019), report and recommendation adopted, No. 18-cv-61860 (S.D. Fla. June 17, 2019), ECF No. 42; Bloomgarden
v. Allstate Fire & Cas. Ins. Co., 2019 WL 2245475 (S.D. Fla. Mar. 15, 2019), report and recommendation adopted in
part, 2019 WL 5209015 (S.D. Fla. Aug. 6, 2019). Both cases raised only contract-based claims disputing actual cash
value. See Bettor, 2019 WL 2245564; Bloomgarden, 2019 WL 2245475.

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  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 41 of 44 PageID #:4501




       In sum, Plaintiffs’ claims go far beyond a dispute over actual cash value. The appraisal

clause does not apply. State Farm’s motion to compel appraisal is denied. For the same reason,

State Farm’s alternative motions to dismiss or for summary judgment are denied. 30

III.   Motion to Dismiss “Headless” Claims

       Finally, State Farm moves to dismiss Plaintiffs’ claims under the laws of states where no

named Plaintiff is a citizen. Courts in this District have divided in response to similar motions,

which usually take the form of Article III standing challenges. See Shirley v. Reynolds Consumer

Prods., LLC, 2022 WL 13831598, at *3 (N.D. Ill. Oct. 21, 2022) (collecting cases and deferring

until class certification the argument that the plaintiff lacked standing to bring claims under laws

of states in which he alleged no injury); McDonnell v. Nature’s Way Prods., LLC, 2017 WL

1149336, at *5 (N.D. Ill Mar. 28, 2017) (same). Rather than Article III, State Farm invokes Rules

12(b)(6) and 17(a). (Dkt. 70 at 4; Dkt. 80 at 2). But Rule 23 is more pertinent: State Farm is

attacking Plaintiffs’ adequacy to represent unnamed class members from other states. See In re

Herbal Supplements Marketing & Sales Pracs. Litig., 2017 WL 2215025, at *6 (N.D. Ill. May 19,

2017) (citing Halperin v. Int’l Web Servs., LLC, 123 F. Supp. 3d 999, 1009 (N.D. Ill. June 5,

2015)); City of Rockford v. Mallinckrodt ARD, Inc., 360 F. Supp. 3d 730, 759 (N.D. Ill. 2019); see

also Fed. R. Civ. P. 23(a)(4). This argument should wait until class certification.

       Under Rule 17(a), “[a]n action must be prosecuted in the name of the real party in interest.”

Fed. R. Civ. P. 17(a)(1). The Rule codifies a “non-constitutional limitation on standing”—

specifically, “the principle that the named plaintiff cannot sue in federal court to assert the rights

of a third party.” RK Co. v. See, 622 F.3d 846, 851 (7th Cir. 2010) (citing Rawoof v. Texor

Petroleum Co., 521 F.3d 750, 757 (7th Cir. 2008)). Where a case lacks a proper plaintiff, Rule 17



       30
            The Court does not reach Plaintiffs’ argument on unconscionability. (Dkt. 71 at 8–12).

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   Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 42 of 44 PageID #:4502




contemplates dismissal of the entire action after “a reasonable time has been allowed for the real

party in interest to ratify, join, or be substituted into the action.” RK, 622 F.3d at 850 (quoting Fed.

R. Civ. P. 17(a)(3)). In the class-action context, Rule 23’s adequacy-of-representation requirement

ensures that named plaintiffs are suitable representatives of absent class members’ claims. See Fed.

R. Civ. P. 23(a)(4). Tellingly, State Farm cites no case law suggesting that Rule 17 imposes an

additional obstacle for named plaintiffs to overcome before class certification. Cf. Mussat v.

IQVIA, Inc., 953 F.3d 441, 448 (7th Cir. 2020) (“[N]othing in the Rules frowns on nationwide

class actions . . . .”).

        Class-certification issues, which “themselves pertain to statutory standing,” are “‘logically

antecedent’ to Article III concerns.” Ortiz v. Fibreboard Corp., 527 U.S. 815, 831 (1999) (citing

Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 92 (1998)); Amchem Prods., Inc. v. Windsor,

521 U.S. 591, 612 (1997). Whether framed as a challenge under Rule 17 or a problem of Article

III, prudential, or statutory standing, Plaintiffs’ ability to represent insureds from other states arises

from their pursuit of class relief—otherwise, the “issue would not exist.” McDonnell, 2017 WL

1149336, at *5 (quotation omitted). Class certification “changes the standing aspects of a suit,

because a properly certified class has a legal status separate from and independent of the interest

asserted by the named plaintiff.” Payton v. County of Kane, 308 F.3d 673, 680 (7th Cir. 2002)

(cleaned up). Thus, Plaintiffs’ capacity to represent a nationwide class will come to the forefront

at the certification stage: “once a class is properly certified,” the Court will evaluate State Farm’s

concerns “with reference to the class as a whole, not simply with reference to the individual named

plaintiffs.” Id. at 680. If Article III standing can wait until class certification, so can State Farm’s

Rule 17 challenge.




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  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 43 of 44 PageID #:4503




       Morrison v. YTB International, Inc., dealt with similar issues, and it supports deferring

resolution of State Farm’s argument. 649 F.3d 533 (7th Cir. 2011). In a putative nationwide class

action under the ICFA, the defendant in Morrison moved to dismiss the claims of non-Illinois class

members under Rule 12(b)(6), arguing the ICFA did not apply outside Illinois. Id. at 535. The

district court dismissed the non-Illinois plaintiffs for lack of “standing.” Id. The Seventh Circuit

reversed. Standing was no problem because “[p]laintiffs have standing if they have been injured,

the defendants cause that injury, and the injury can be redressed by a judicial decision.” Id. at 536

(citing Steel Co., 523 U.S. at 102–04).

       If the [ICFA] does not apply because events were centered outside Illinois, then
       plaintiffs must rely on some other state’s law; this application of choice-of-law
       principles has nothing to do with standing, though it may affect whether a class
       should be certified—for a class action arising under the consumer-fraud laws of all
       50 states may not be manageable, even though an action under one state’s law could
       be.

Id. at 536 (citing In re Bridgestone/Firestone, Inc., Tires Prods. Liability Litig., 288 F.3d 1012,

and Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011)). The Morrison Court went on to reason

that the choice-of-law question—whether Illinois law applied to out-of-state plaintiffs—did not

lend itself to resolution under Rule 12(b)(6). Id. at 536–38. Because “the complaint [did] not defeat

application of Illinois law,” dismissal was improper. Id. at 538. Surviving a Rule 12(b)(6) motion,

of course, requires no more than “narrat[ing] a plausible claim for relief.” Id. (citing Twombly,

550 U.S. 544, and Iqbal, 556 U.S. 662).

       Here, as in Morrison, Plaintiffs have demonstrated Article III standing and plausibly

alleged their entitlement to relief. The statutory-standing and choice-of-law issues implicit in State

Farm’s challenge are best resolved at the class-certification stage. Accordingly, the motion to

dismiss “headless” claims is denied.




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  Case: 1:22-cv-01422 Document #: 83 Filed: 06/21/23 Page 44 of 44 PageID #:4504




                                         CONCLUSION

       For the reasons above, the Court rules on State Farm’s three motions as follows. State

Farm’s Renewed Motion to Dismiss, Transfer, or Stay [62] is granted in part. Pursuant to Federal

Rule of Civil Procedure 21, the Court severs the claims of Plaintiffs Brown, Bowden, Payne,

McConnell, Huff, and Robert. Under 28 U.S.C. § 1404(a), the Court transfers: (1) Brown’s claims

to the Western District of Louisiana; (2) Bowden’s claims to the Western District of Tennessee;

(3) Payne’s claims to the District of South Carolina; (4) McConnell’s claims to the Eastern District

of Arkansas; (5) Huff’s claims to the Southern District of Georgia; and (6) Robert’s claims to the

Southern District of Ohio. State Farm’s Renewed Motion to Dismiss, Transfer, or Stay [62] is

otherwise denied. Second, State Farm’s Renewed Motion to Compel Appraisal, or, in the

Alternative, Dismiss or Grant Summary Judgment [65] is denied. Third, State Farm’s Renewed

Motion to Dismiss “Headless” Claims [69] is denied.




                                              ____________________________________
                                              Virginia M. Kendall
                                              United States District Judge
Date: June 21, 2023




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